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Full-length Article

Persistent psychopathology and neurocognitive impairment in COVID-19
survivors: Effect of inflammatory biomarkers at three-month follow-up
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A R T I C L E I N F O                                        A B S T R A C T

Keywords:                                                    COVID-19 outbreak is associated with mental health implications during viral infection and at short-term follow-
COVID-19                                                     up. Data on psychiatric and cognitive sequelae at medium-term follow-up are still lacking. During an ongoing
Depression                                                   prospective cohort study, the psychopathological and cognitive status of 226 COVID-19 pneumonia survivors
Follow-up
                                                             (149 male, mean age 58) were prospectively evaluated one and three months after hospital discharge. Psychiatric
Mental health
Psychiatry
                                                             clinical interview, self-report questionnaires, and neuropsychological profiling of verbal memory, working
Inflammation                                                 memory, psychomotor coordination, executive functions, attention and information processing, and verbal
                                                             fluency were performed.
                                                                Three months after discharge from the hospital, 35.8% still self-rated symptoms in the clinical range in at least
                                                             one psychopathological dimension. We observed persistent depressive symptomatology, while PTSD, anxiety,
                                                             and insomnia decreased during follow-up. Sex, previous psychiatric history, and the presence of depression at
                                                             one month affected the depressive symptomatology at three months. Regardless of clinical physical severity, 78%
                                                             of the sample showed poor performances in at least one cognitive domain, with executive functions and psy­
                                                             chomotor coordination being impaired in 50% and 57% of the sample.
                                                                Baseline systemic immune-inflammation index (SII), which reflects the immune response and systemic
                                                             inflammation based on peripheral lymphocyte, neutrophil, and platelet counts, predicted self-rated depressive
                                                             symptomatology and cognitive impairment at three-months follow-up; and changes of SII predicted changes of
                                                             depression during follow-up. Neurocognitive impairments associated with severity of depressive psychopathol­
                                                             ogy, and processing speed, verbal memory and fluency, and psychomotor coordination were predicted by
                                                             baseline SII.
                                                                We hypothesize that COVID-19 could result in prolonged systemic inflammation that predisposes patients to
                                                             persistent depression and associated neurocognitive dysfunction. The linkage between inflammation, depression,
                                                             and neurocognition in patients with COVID-19 should be investigated in long-term longitudinal studies, to better
                                                             personalize treatment options for COVID-19 survivors.




1. Introduction                                                                                     19 pandemic continues to grow and, according to the World Health
                                                                                                    Organization, more than 99,300,000 confirmed cases and at least
   The coronavirus disease 2019 (COVID-19), caused by the novel se­                                 2,130,000 death have been reported globally (WHO, 2020).
vere acute respiratory syndrome coronavirus 2 (SARS-CoV-2), has                                        As the pandemic spread, there has been a growing recognition of
widely and rapidly spread worldwide in a matter of months. The COVID-                               mental health implications (Amsalem et al., 2020; The Lancet, 2020;



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Xiang et al., 2020). Emerging data show that COVID-19 outbreak is            (n = 177, hospital stay 15.66 ± 10.1 days) or treated at home (n = 49).
associated with delirium, fatigue, confusion, depression, anxiety, post-         To keep a naturalistic study design, exclusion criteria were limited to
traumatic stress disorder (PTSD), obsessive–compulsive symptoms,             patients under 18 years.
and insomnia in the context of acute viral infection or at short-term            The local ethical committee approved the study protocol in accor­
follow-up after clinical recovery, with severity of psychiatric symp­        dance with the principles in the Declaration of Helsinki. Written
toms after virus clearance being proportional to the severity of systemic    informed consent was obtained from all participants.
inflammation during the acute infection and significantly contributing
to the quality of life of survivors (De Lorenzo et al., 2020; Ma et al.,     2.2. Clinical and neuropsychological assessment
2020; Mazza et al., 2020; Varatharaj et al., 2020).
    The host immune response to SARS-CoV-2 infection, the persistent             Two trained psychiatrists in charge (MGM & FB) conducted the
psychological stress before and during infection (Korman et al., 2020;       psychiatric unstructured clinical interview using the best estimation
Vai et al., 2020), and a possible direct viral infections of the central     procedure to investigate the presence of current major psychiatric dis­
nervous system represent possible mechanisms to induce neuropsychi­          order (schizophrenia spectrum and other psychotic disorders, bipolar
atric sequelae (Troyer et al., 2020). T helper (Th)-1 cytokines, including   and related disorders, depressive disorders, anxiety disorders, obsessi­
Interleukin (IL)-1β, IL-6, Interferon (IFN)-γ, Tumor Necrosis Factor         ve–compulsive and related disorders, trauma- and stressor-related dis­
(TNF)-α, CXCL10, and CCL2; and Th-2 cytokines, including IL-4, IL-10,        orders, feeding and eating disorders, sleep-wake disorders, substance-
and IL-1 receptor antagonist are all elevated in the serum of COVID-19       related and addictive disorders) according to the Diagnostic and Sta­
patients (Coperchini et al., 2020) in a “cytokine storm” typically asso­     tistical Manual of Mental Disorders (DSM-5).
ciated with the illness.                                                         Validated self-report questionnaires were used to assess psychopa­
    Higher immune/inflammatory setpoints with higher circulating             thology: Impact of Event Scale - Revised (IES-R) (Creamer et al., 2003),
biomarkers of inflammation are observed in mood disorders in the             PTSD Checklist for DSM-5 (PCL-5) (Armour et al., 2016), Zung Self-
absence of known triggering factors, and are currently investigated as       Rating Depression Scale (ZSDS) (Zung, 1965), 13-item Beck’s Depres­
underpinning pathogenetic mechanisms for depressive psychopathology          sion Inventory (BDI-13) (Beck and Steer, 1984), State-Trait Anxiety In­
(Gibney and Drexhage, 2013; Grosse et al., 2015; Poletti et al., 2020b).     ventory form Y (STAI-Y) (Vigneau and Cormier, 2008), Women’s Health
Peripheral cytokines involved in the host anti-viral response may elicit     Initiative Insomnia Rating Scale (WHIIRS) (Levine et al., 2003), and
psychiatric symptoms by precipitating inflammation in the periphery          Obsessive-Compulsive Inventory (OCI) (Foa et al., 2002). Generally
and in central nervous system (CNS) (Dantzer, 2018). Moreover, sig­          accepted standard cut-off scores were used to consider the presence of
nificant stressors such as fear of severe and unknown disease, loneliness,   psychopathology (IES-R ≥ 33; PCL-5 ≥ 33; ZSDS index ≥ 50; BDI-13 ≥ 9;
stigma, and the denial contribute to widespread emotional distress and       STAI-state ≥ 40; WHIIRS ≥ 9; OCI ≥ 21). The presence of psychopa­
increased risk for psychiatric illness in COVID-19 patients (Pfefferbaum     thology at one and three months was considered when the patient self-
and North, 2020).                                                            rated in the clinical range for depression, PTSD, anxiety, and obsessi­
    Beyond acute or sub-acute sequelae, the delayed or long-term inci­       ve–compulsive symptoms according to at least one questionnaire (ZSDS
dence of neuropsychiatric complications in COVID-19 survivors are still      and/or BDI-13 and/or IES-R and/or PCL-5 and/or STAI-Y state and/or
unknown. Current knowledge suggests that viral infections can trigger        OCI), excluding the patients who self-rated in the pathological range
chronic inflammation and aberrant immune responses, causing long-            only for insomnia in order to be more conservative as possible.
lasting neuropsychiatric syndromes involving cognitive, affective, and           Inflammatory markers at hospital admission during acute COVID-19
behavioural symptoms, over highly variable periods after infection           were extracted from charts levels for the whole sample: C-reactive
(from weeks to years following acute infection) (Bechter, 2013; Kepin­       protein (CRP), neutrophil/lymphocyte ratio (NLR), monocyte/lympho­
ska et al., 2020; Lam et al., 2009; Rogers et al., 2020).                    cyte ratio (MLR), and systemic immune-inflammation index (SII)
    Considering the high prevalence of emergent psychiatric conditions       (SII = platelets X neutrophils / lymphocytes). In a subgroup of 45 pa­
that we have observed at one-month follow-up (Mazza et al., 2020) and        tients out of the total sample, these markers were available also at the
surmising persistent delayed post-viral psychiatric and cognitive            three-months follow-up.
sequelae, here we aimed at studying psychopathological and neuro­                In a subsample of 130 patients, we assessed cognitive functions
cognitive impact of COVID-19 in survivors three-month after clinical         through the Brief Assessment of Cognition in Schizophrenia (BACS)
recovery.                                                                    (Keefe et al., 2004), a broad battery evaluating verbal memory, verbal
                                                                             fluency, working memory (digit sequencing), selective attention and
2. Material and methods                                                      processing speed (symbol coding), psychomotor coordination (token
                                                                             motor task), and executive functions (Tower of London). Considering
2.1. Design and study population                                             that domain scores were adjusted according to normative Italian scores
                                                                             for the BACS subtests in patients aged 18–70 years, we did not perform
    We prospectively evaluated the psychopathological and cognitive          cognitive assessment in patients older than 70 years (Anselmetti et al.,
status of COVID-19 survivors three months (90.1 ± 13.4 days) after           2008). To provide a standard metric for comparison across neuro­
hospital discharge during an ongoing prospective cohort study at IRCCS       cognitive domains for each subtest an equivalent score, ranging from
San Raffaele Hospital in Milan. From an initial cohort of 402 COVID-19       0 to 4, has been obtained where scores 2, 3 or 4 reveal a good perfor­
survivors that were evaluated at one-month follow-up (see (Mazza et al.,     mance while score of 0 or 1 reveal a poor performance.
2020)); 226 COVID-19 survivors were re-assessed at three months (149
male, mean age 58.5 ± 12.8, age range from 26 to 87 years). The three-       2.3. Statistical analyses
month follow-up cohort did not differ from the drop-out group and from
the initial cohort in terms of sociodemographic characteristics, clinical        All the statistical analyses were performed with a commercially
severity, and one-month psychopathology after False Discovery Rate           available software package (StatSoft Statistica 12, Tulsa, OK, USA) and
(FDR) correction (See Supplementary material).                               following standard computational procedures (Dobson, 1990; Hill and
    Inclusion criteria were clinical and radiological findings suggestive    Lewicki, 2006).
of COVID-19 pneumonia at the admission to the Emergency Department               To account for the multiple covarying variables, we tested the effect
(ED). The infection was confirmed by positive real-time reverse-tran­        of predictors on the outcomes in the context of the General Linear Model
scriptase polymerase chain reaction (RT-PCR) from a nasopharyngeal           (GLM) and we calculated the statistical significance of the effect of the
and/or throat swab. After ED evaluation, patients were hospitalized          single independent factors on the dependent variables by parametric

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estimates of predictor variables (least squares method). To investigate       month (Wilks’ λ = 0.82; F = 15.16; p < 0.001), all factors that predicted
changes of psychopathology over time, repeated measures ANOVAs                the persistence of psychopathology over time. Univariate testing showed
(according to sex and psychiatric history) were performed, considering        significantly worse persistence of depressive symptomatology in females
ZSDS, BDI-13, IES-R, PCL-5, STAI-Y, OCI, and WHIIRS scores at one- and        (ZSDS: β = 0.21, F = 7.31, p = 0.008; BDI-13: β = 0.27, F = 11.12;
three-months follow-up. When appropriate, levels of significance were         p = 0.001), in patients with previous lifetime psychiatric history (ZSDS:
corrected for multiple comparisons with the method of the adaptive            β = 0.15, F = 4.66, p = 0.32; BDI-13: β = 0.23, F = 10.65, p = 0.001),
linear step-up procedures that control the FDR and q-values (FDR-             and in patients who showed psychopathology one month after discharge
adjusted p-value) were considered.                                            (ZSDS: β = 0.41, F = 30.50, p < 0.001; BDI-13: β = 0.26, F = 11.92,
    To test the effect of systemic inflammation on severity of psycho­        p < 0.001).
pathology and neurocognitive performances, and considering the a pri­             At the clinical interview 55/226 patients (24.3%) showed DSM-5
ori expected significant interaction with other independent factors (age,     criteria for the diagnosis of current major psychiatric disorder (major
sex, hospitalization) and the non-normal distribution of inflammatory         depressive disorder (n = 20), anxiety disorders (n = 20), insomnia
biomarkers, independent variables were entered into a Generalized             (n = 7), and other diagnoses (n = 8)). Of them, 34 patients were in need
Linear Model (GLZM) analysis of homogeneity of variances with an              of a psychopharmacologic treatment, 10 patients were already taking
identity link function (McCullagh and Nelder, 1989). Parameter esti­          drugs, while 24 patients started taking pharmacological treatment. Pa­
mates were obtained with iterative re-weighted least squares maximum          tients with positive previous psychiatric diagnosis were at higher risk to
likelihood procedures. The significance of the effects was calculated         show DSM-5 criteria for the diagnosis of current major psychiatric dis­
with the likelihood ratio (LR) statistic, which provides the most             order (χ2 = 20.12; p < 0.001 See Supplementary material). Overall, 9%
asymptotically efficient test known, by performing sequential tests for       of patients with no previous psychiatric history and 32% of patients with
the effects in the model of the factors on the dependent variable, at each    positive previous psychiatric history were prescribed psychotropic drugs
step adding an additional effect into the model contributing to incre­        (selective serotonin reuptake inhibitors alone, or combined with sleep-
mental Chi-square statistic, thus providing a test of the increment in the    inducing benzodiazepines).
log-likelihood attributable to each current estimated effect; or the Wald
W2 test as appropriate (Agresti, 1996; Dobson, 1990). The quality of the      3.2. Neurocognitive functioning
statistical model was checked using the entropy maximization principle
of the Akaike information criterion (AIC) (Akaike, 1974).                         Only 25 patients (19%) showed equivalent scores within the normal
                                                                              range in all domains, whereas 21 (16%) were poor performers in at least
3. Results                                                                    one function, 22 (17%) in two, 18 (14%) in three, 14 (11%) in four, 7
                                                                              (5%) in five, and 2 (1.5%) showed no good performance at all.
    Clinical and demographic characteristics of participants are resumed          Psychopathology influenced neurocognition. A GLM multivariate
in Table 1 (effects of sex and of previous DSM-V diagnosis) and Table 2       analysis of variance showed significant effects of any kind of psycho­
(effect of psychopathology at one and three months).                          pathology presented at one (Wilks’ λ = 0.81; F = 3.39; p = 0.004) and
                                                                              three months (Wilks’ λ = 0.82; F = 2.32; p = 0.042) after discharge; but
3.1. Psychopathology and need for treatment                                   not of sex, previous psychiatric diagnosis, and duration of hospitaliza­
                                                                              tion. Patients with psychopathology one-month after discharge per­
    Three months after hospital discharge 81/226 patients (35.8%) self-       formed worse on verbal fluency (β = 0.349, p = 0.002), information
rated symptoms in the clinical range in at least one psychopathological       processing (β = 0.348, p = 0.002), and executive functions (β = 0.353,
dimension (PTSD according to IES-R and/or PCL-5, depression accord­           p = 0.001) at the three months assessment; whereas psychopathology at
ing to ZSDS and/or BDI-13, anxiety according to STAI-Y state, and OC          three months associated with worse information processing (β = 0.355,
symptomatology according to OCI). Females, patients with a positive           p = 0.008). In particular, severity of depressive symptoms (ZSDS scores)
previous psychiatric diagnosis, and patients who already presented            at one and three months follow-up predicted the performance in infor­
psychopathological symptoms one month after discharge suffered more           mation processing (one month: Wald = 7.05, p = 0.007; three months:
in all psychopathological domains (Tables 1 and 2). Duration of hospi­        Wald = 8.37, p = 0.003).
talization inversely correlated with three months ZSDS (r = − 0.23,               Oxygen saturation level at admission and duration of hospitalization
p = 0.005, q = 0.01), BDI-13 (r = − 0.21, p = 0.010, q = 0.015), IES-R        did not affect neurocognition.
(r = − 0.20, p = 0.014, q = 0.017), PCL-5 (r = − 0.26, p = 0.003,
q = 0.01), OCI (r = − 0.26, p = 0.004, q = 0.01), and WHIIRS (r = − 0.17,     3.3. Effect of inflammatory biomarkers
p = 0.044, q = 0.044). Age and setting of the care did not affect self-
ratings psychopathology.                                                          Systemic inflammation (SII level) predicted severity of depressive
    From the one-month to the three-month follow-up, patients showed a        psychopathology at the three-months follow-up. A GLZM analysis of the
significant decrease over time of PTSD symptoms (IES-R: F = 21.29,            effects of SII at hospital admission on severity of depression at three
p = 0.001; PCL-5: F = 9.07, p = 0.003), anxiety (STAI-state: F = 11.28,       months, also considering sex, hospitalization, and age as factors, showed
p = 0.001), and insomnia (WHIIRS: F = 9.36, p = 0.003), irrespectively        that best performing models according to AIC always included SII and
of sex and previous psychiatric history (Table 3). In contrast, depression    significantly explained the variation of depression severity (χ2 = 56.536,
(according to ZSDS and BDI) did not significantly change; and obsessi­        p < 0.0001 for BDI; χ2 = 42.417, p < 0.0001 for ZSDS index scores). The
ve–compulsive symptomatology significantly worsened (F = 4.84,                significant effects were the main effect of sex (worse scores in females,
p = 0.030) with no effect of sex and psychiatric history (Table 3).           BDI: χ2 = 30.222, p < 0.0001; ZSDS: χ2 = 20.627, p < 0.0001); the
Interestingly, we found a statistical trend for the protective effect of      interaction of SII with hospitalization (BDI: χ2 = 7.357, p = 0.0067;
previous psychiatric history on depressive symptoms over time                 ZSDS: χ2 = 3.999, p = 0.0455); the interaction of age and sex (BDI:
(Time × psychiatric history F = 3.36, p = 0.069) (Table 3).                   χ2 = 8.933, p = 0.0028; ZSDS: χ2 = 5.423, p = 0.0199); and the triple
    A multivariate GLM analysis of the effects of sex, previous psychiatric   interaction of SII with age and sex (BDI: χ2 = 10.821, p = 0.0010; ZSDS:
diagnosis, duration of hospitalization, and presence of psychopathology       χ2 = 5.252, p = 0.0219). Analysis of parameter estimates showed that in
at one-month follow-up on the three months depressive symptom­                hospitalized patients, who had significantly worse inflammation (SII:
atology confirmed a significant multivariate effect of sex (Wilks’            1480.61 ± 1395.47 vs 871.34 ± 711.27; Mann-Whitney U = 1451.00,
λ = 0.92; F = 5.76; p = 0.003), previous psychiatric diagnosis (Wilks’        Z = 2.980, p = 0.0026), but not in less severe patients treated at home,
λ = 0.93; F = 5.29; p = 0.006), and presence of psychopathology at one-       SII associated with worse BDI and ZSDS scores correcting for sex and age

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Table 1
Psychiatric symptoms and neurocognition at three months in patients surviving COVID-19 infection, divided according to sex and psychiatric history, and levels of
significance of the observed differences (Student’s t test and Chi-square). Patients self-rated their symptoms on the Zung Self-rating Depression Scale (ZSDS); Beck’s
Depression Inventory (BDI); Impact of Event Scale – Revised (IES-R); PTSD Checklist for DSM-5 (PCL-5); State Anxiety Inventory (STAI); Women’s Health Initiative
Insomnia Rating Scale (WHIIRS); Obsessive-Compulsive Inventory (OCI).
                        Whole sample         Sex                                                             Psychiatric history
                        (n = 226)
                                             Males (n = 149)      Females (n = 77)    t or χ2    p           Negative (n = 164)    Positive (n = 62)    t or χ2    p

  Males (females)       149 (77)             –                    –                       –       –          120 (44)              29 (33)               13.95     <0.001
  Age                   58.52 ± 12.79        59.71 ± 11.55        56.17 ± 14.72           1.97    0.049      59.41 ± 13.15         56.17 ± 11.57          1.71      0.091
  Education (years)     12.58 ± 3.68         12.64 ± 3.64         12.52 ± 3.77            0.16    0.866      12.46 ± 3.84          12.84 ± 3.36         − 0.51      0.609
  Baseline C reactive   74.27 ± 81.1         89.34 ± 81.1         46.03 ± 61.61           3.93   <0.001      70.78 ± 68.32         83.05 ± 97.13        − 1.02      0.3092
    protein (mg/l)
  Baseline              5.73 ± 5.98          6.66 ± 5.98          3.92 ± 3.14             3.54   <0.001      5.32 ± 4.43           6.78 ± 7.13          − 1.75         0.0815
    neutrophil/
    lymphocyte ratio
  Baseline              0.51 ± 0.42          0.55 ± 0.42          0.43 ± 0.35             1.96       0.051   0.5 ± 0.41            0.53 ± 0.37          − 0.53         0.5983
    monocyte/
    lymphocyte ratio
  Baseline systemic     1312.87 ± 1388.19    1479.29 ± 1388.19    1002.38 ± 830.95        2.57       0.010   1234.98 ± 1125.98     1497.34 ± 1474.8     − 1.34         0.1817
    immune-
    inflammatory
    index
  ZSDS index            43.56 ± 11.62        40.04 ± 9.16         50.56 ± 12.82       − 6.47     <0.001      41.35 ± 10.55         48.77 ± 12.43        − 4.18     <0.001
    (n = 188)
  BDI-13 (n = 186)      3.05 ± 4.55          1.68 ± 2.57          5.73 ± 6.15         −   6.31   <0.001      1.93 ± 2.98           5.66 ± 6.24          −   5.52   <0.001
  IES-R (n = 187)       21.05 ± 19.78        16.86 ± 17.59        29.29 ± 21.36       −   4.24   <0.001      17.57 ± 18.28         29.18 ± 20.93        −   3.81   <0.001
  PCL-5 (n = 174)       12.7 ± 15.84         8.11 ± 12.34         20.79 ± 18.06       −   5.49   <0.001      8.77 ± 12.82          21.20 ± 18.37        −   5.15   <0.001
  STAI-Y state          36.19 ± 11.47        32.70 ± 9.58         43.54 ± 11.72       −   6.54   <0.001      33.66 ± 9.78          42.27 ± 12.96        −   4.83   <0.001
    (n = 177)
  OCI (n = 134)         14.04 ± 11.71        11.37 ± 10.22        19.70 ± 12.74       − 4.06     <0.001      11.87 ± 10.82         18.65 ± 12.29        − 3.24         0.002
  WHIIRS (n = 173)      6.16 ± 4.73          5.32 ± 4.56          7.72 ± 4.7          − 3.27      0.001      5.76 ± 4.7            7.07 ± 4.75            1.7          0.090
  ZSDS index ≥ 50 Yes   51 (28%)             20 (16%)             31 (49%)             23.36      0.001      28 (23%)              23 (40%)               7.84         0.005
    (%)
  BDI-13 ≥ 8 Yes (%)    20 (9%)              4 (2%)               16 (26%)             21.28     <0.001      5 (5%)                15   (26%)           21.46      <0.001
  IES-R ≥ 33 Yes (%)    39 (22%)             20 (16%)             19 (31%)             12.93      0.001      19 (15%)              20   (36%)           17.87      <0.001
  PCL-5 ≥ 33 Yes (%)    22 (13%)             6 (5%)               16 (26%)             14.54     <0.001      7 (6%)                15   (27%)           15.58      <0.001
  STAI-Y state ≥ 40     51 (30%)             21 (18%)             30 (54%)             23.25     <0.001      25 (21%)              26   (50%)           16.11      <0.001
    Yes (%)
  OCI ≥ 21 Yes (%)      33 (26%)             14 (16%)             19 (44%)             13.05     <0.001      16 (18%)              17 (39%)                 7.58       0.005
  WHIIRS ≥ 9 Yes (%)    43 (24%)             20 (18%)             23 (37%)              8.33      0.003      25 (22%)              18 (33%)                 3.02       0.082
  Verbal memory         41.20 ± 10.28        39.49 ± 10.00        43.67 ± 10.27         2.32      0.022      40.67 ± 9.99          42.34 ± 10.93            0.86       0.392
    (n = 130)
  Verbal fluency        45.42 ± 12.05        46.61 ± 13.31        43.69 ± 9.81            1.36       0.176   45.59 ± 11.88         45.05 ± 12.56            0.23       0.811
    (n = 130)
  Working memory        20.32 ± 4.93         21.50 ± 4.74         18.68 ± 4.75            3.28       0.001   20.29 ± 5.13          20.39 ± 4.53         − 0.1          0.918
    (n = 126)
  Attention and         46.61 ± 11.68        46.00 ± 11.85        47.49 ± 11.44           0.71       0.476   46.12 ± 12.67         47.65 ± 9.22         − 0.69         0.488
    Information
    processing
    (n = 130)
  Psychomotor           68.33 ± 18.33        68.15 ± 19.83        68.60 ± 16.07           0.13       0.891   68.69 ± 18.24         67.56 ± 18.72            0.32       0.744
    coordination
    (n = 130)
  Executive functions   13.99 ± 4.50         14.15 ± 4.53         13.75 ± 4.49            0.49       0.619   13.86 ± 4.62          14.5 ± 4.41          − 0.7          0.48
    (n = 130)
  Verbal memory         11 (10%)             7 (10%)              4 (9%)                  0.14       0.708   7 (9%)                4 (11%)                  0.03       0.871
    poor performance
    (%)
  Verbal fluency poor   39 (32%)             22 (32%)             17 (33%)                0.05       0.824   26 (32%)              13 (32%)                 0.01       0.929
    performance (%)
  Working Memory        30 (24%)             11 (15%)             19 (37%)                7.67       0.005   21 (26%)              9 (22%)                  0.14       0.708
    poor performance
    (%)
  Attention and         43 (33%)             29 (38%)             14 (27%)                1.61       0.204   32 (36%)              11 (27%)                 1.14       0.284
    Information
    Processing poor
    performance (%)
  Psychomotor           72 (57%)             43 (59%)             29 (56%)                0.12       0.727   49 (59%)              23 (56%)                 0.05       0.812
    coordination poor
    performance (%)
  Executive             60 (50%)             32 (46%)             28 (56%)                1.23       0.266   40 (51%)              20 (49%)                 0.03       0.847
    Functions poor
    performance (%)




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Table 2
Psychiatric symptoms and neurocognition in patients surviving COVID-19 infection, divided according to the presence of psychopathology at one and three months and
levels of significance of the observed differences (Student’s t test and Chi-square). Patients self-rated their symptoms on the Zung Self-rating Depression Scale (ZSDS);
Beck’s Depression Inventory (BDI); Impact of Event Scale – Revised (IES-R); PTSD Checklist for DSM-5 (PCL-5); State Anxiety Inventory (STAI); Women’s Health
Initiative Insomnia Rating Scale (WHIIRS); Obsessive-Compulsive Inventory (OCI).
                                 Psychopathology at one month follow-up                                        Psychopathology at three months follow-up

                                 Negative           Positive          t or χ2      p           q               Negative            Positive          t or χ2        p            q
                                 (n = 113)          (n = 113)                                                  (n = 145)           (n = 80)

  Males (females)                96 (17)            53 (60)                36.42   <0.001      <0.001          110 (35)            39 (42)                17.76     <0.001       <0.001
  Age                            58.72 ± 12.26      58.32 ± 13.36           0.23    0.817       0.862          59.24 ± 12.6        57.21 ± 13.11           1.14      0.256        0.304
  Education (years)              13.05 ± 3.6        12.18 ± 3.74            1.29    0.200       0.237          12.62 ± 3.63        12.53 ± 3.79            0.13      0.896        0.945
  ZSDS index (n = 188)           36.55 ± 5.86       53.13 ± 11.31     −    13.29   <0.001      <0.001          36.71 ± 5.94        53.44 ± 10.65     −    13.76     <0.001       <0.001
  BDI-13 (n = 186)               1.01 ± 1.28        5.96 ± 5.79           − 8.36   <0.001      <0.001          0.78 ± 1.19         6.34 ± 5.52       −    10.22     <0.001       <0.001
  IES-R (n = 187)                11.61 ± 9          39.44 ± 19.89     −    12.76   <0.001      <0.001          18.54 ± 17.30       38.92 ± 20.39         − 7.59     <0.001       <0.001
  PCL-5 (n = 174)                4.45 ± 4.48        25.62 ± 17.47     −    11.11   <0.001      <0.001          3.47 ± 4.05         25.47 ± 17.19     −    12.39     <0.001       <0.001
  STAI-Y state (n = 177)         29.33 ± 6.26       43.92 ± 9.68      −    12.74   <0.001      <0.001          29.51 ± 5.63        45.93 ± 10.84     −    13.15     <0.001       <0.001
  OCI (n = 134)                  6.31 ± 4.81        18.5 ± 10.55      −    10.60   <0.001      <0.001          7.33 ± 5.38         23.10 ± 11.86     −    10.32     <0.001       <0.001
  WHIIRS (n = 173)               5.18 ± 3.98        9.25 ± 5.2            − 6.32   <0.001      <0.001          4.2 ± 3.50          8.93 ± 4.89           − 7.38     <0.001       <0.001
  Verbal memory (n = 130)        48.95 ± 8.8        48.99 ± 10.92         − 0.02    0.982       0.982          40.37 ± 10.73       42.52 ± 9.49          − 1.15      0.249        0.304
  Verbal fluency (n = 130)       48.74 ± 14.14      43.54 ± 10.08           2.31    0.023       0.034          46.41 ± 12.53       42.52 ± 9.49            1.18      0.237        0.304
  Working memory (n = 126)       22.32 ± 4.66       19.81 ± 4.94            2.82    0.006       0.010          20.71 ± 4.75        19.71 ± 5.19            1.11      0.286        0.319
  Attention and Information      53.29 ± 10.95      48.06 ± 11.22           2.60    0.011       0.017          48.08 ± 11.41       44.24 ± 11.81           1.84      0.067        0.098
    processing (n = 130)
  Psychomotor coordination       74.49 ± 17.59      69.92 ± 17.82          1.39        0.166       0.210       68.37 ± 18.47       68.28 ± 18.29             0.02       0.977        0.977
    (n = 130)
  Executive functions            15.66 ± 4.46       13.78 ± 4.49           2.27        0.025       0.040       14.57 ± 4.37        13.06 ± 4.59              1.88       0.061        0.096
    (n = 130)




Table 3
Changes of psychopathology over time according to sex and psychiatric history (repeated measures ANOVA). Zung Self-rating Depression Scale (ZSDS); Beck’s
Depression Inventory (BDI); Impact of Event Scale – Revised (IES-R); PTSD Checklist for DSM-5 (PCL-5); State Anxiety Inventory (STAI); Obsessive-Compulsive In­
ventory (OCI); Women’s Health Initiative Insomnia Rating Scale (WHIIRS).
                              One month follow-up        Three months follow-up            Time                            Time × sex                    Time × psychiatric history

                                                                                           F               p               F             p               F               p

  ZSDS index (n = 178)        43.88 ± 11.74              43.38 ± 11.62                      2.095          0.15            0.627         0.43            3.358           0.069
  BDI-13 (n = 173)            3.23 ± 4.06                2.94 ± 4.5                         1.203          0.274           0.783         0.378           0.758           0.385
  IES-R (n = 175)             25.27 ± 20.6               20.59 ± 19.86                     21.286          0.001           1.759         0.187           2.661           0.105
  PCL-5 (n = 150)             15.81 ± 16.52              12.65 ± 15.86                      9.069          0.003           0.001         0.97            0.356           0.552
  STAI-Y state (n = 158)      37.7 ± 11.27               35.53 ± 11.26                     11.276          0.001           2.244         0.136           0.183           0.67
  OCI (n = 124)               12.52 ± 9.45               14.07 ± 12.1                       4.836          0.03            2.151         0.145           0.008           0.93
  WHIIRS (n = 163)            7.22 ± 5.07                6.12 ± 4.64                        9.364          0.003           3.753         0.154           0.139           0.71



(BDI: Wald W2 = 19.635, p < 0.0001; ZSDS; Wald W2 = 18.217,                                parameter estimates showed a negative effect of SII on performance
p < 0.0001). Inspection of data (Fig. 1) shows highly dispersed depres­                    (Fig. 2).
sion ratings at low levels of inflammation, with more severe symptoms                          No association was found between other inflammatory markers
at higher levels of inflammation.                                                          (CRP, NLR, and MLR) at baseline and three months follow-up and
    Moreover, changes of systemic inflammation over time influenced                        depression.
the pattern of change of depressive symptoms (Fig. 1). The decrease of
SII from hospital admission to three months after discharge significantly                  4. Discussion
influenced the change of depressive symptoms at follow-up, as rated
both at BDI-13 (Wald W2 = 14.304, p = 0.0002) and at ZSDS (Wald                                This is the first study to prospectively investigate the psychiatric and
W2 = 6.881, p = 0.0087), with no effects of sex, age, and hospitalization:                 neurocognitive sequelae at a medium-term follow-up in COVID-19 sur­
patients who showed a marked decrease of SII also showed a decrease of                     vivors. Our main finding is the presence of isolated persistent depressive
depression severity, while patients who showed minor changes of SII                        symptomatology at three months follow-up after SARS-CoV-2 infection,
showed persistent or worsening depression. A GLM repeated measures                         which is predicted by systemic inflammation during acute infection, and
analysis of variance confirmed a significant interaction of delta SII with                 by its pattern of change over time. A parallel decrease of PTSD, anxiety
time on the pattern of change of both BDI-13 (F = 12.37, d.f. 1,32,                        and insomnia over time suggests specific long lasting depressive
p = 0.0013) and ZSDS (F = 5.95, d.f. 1,32, p = 0.0204).                                    sequelae in COVID-19 survivors. Moreover, we observed dysfunctions in
    Systemic inflammation also predicted neurocognitive performance.                       attention and information processing that were strictly related to the
A GLZM analysis of the effects of SII at hospital admission on BACS                        presence of depressive symptomatology both at one and three months,
scores, also considering sex, hospitalization, and age as factors, showed                  and to systemic inflammation.
a significant negative main effect of age on all measures, and a signifi­                      Several mechanisms could underpin the impact of COVID-19 on
cant interaction of SII and age on verbal memory (χ2 = 4.908,                              mood and cognition, including both biological and psychological fac­
p = 0.0267), verbal fluency (χ2 = 4.273, p = 0.0387), speed of infor­                      tors. COVID-19 induces a robust immune response characterized by a
mation processing (symbol coding, χ2 = 5.544, p = 0.0185), and psy­                        hyperinflammatory state with high levels of IL-1β, IL-4, IL-6, IL-10, TNF-
chomotor coordination (χ2 = 6.680, p = 0.0097), the latter also                            α CXCL10, and CCL2 (Mehta et al., 2020; Ye et al., 2020). Inflammation
influenced by the main effect of SII (χ2 = 7.636, p = 0.0057). Analysis of                 is known to be associated to depression inducing brain-blood-barrier


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Fig. 1. Changes of psychopathology over time, and its relationship with systemic inflammation. Top: Significant decrease of PTSD symptoms (IES-R scores) over time
(A), with persistence of depressive symptoms (ZSDS scores) (B); black dots are males, white are females. Middle: Effect of systemic inflammation (SII) at hospital
admission, on depressive symptoms at three-month follow-up as measured by BDI-13 (C) or ZSDS (D); black dots are males, white are females. Bottom: Effect of the
decrease of systemic inflammation from hospital admission to 3 months after hospital discharge, on the pattern of change of depressive symptoms during follow-up as
measured by BDI-13 (E) or ZSDS (F).




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Fig. 2. Effect of systemic inflammation (SII) at hospital admission, on neurocognitive performances at three-month follow-up as measured with BACS. A: Attention
and speed of information processing (symbol coding). B: Verbal fluency. C: Verbal memory. D: Psychomotor coordination.


disruption, microglia activation, neurotransmission alteration, indole­           Neutrophils are critical for starting and regulating the innate immune
amine 2,3-dioxygenase 1 (IDO) activation, and oxidative stress (Bene­             defense through phagocytosis, apoptotic action, chemotactic role,
detti et al., 2020a; Miller and Raison, 2016). Depressed patients are             oxidative stress, and secretion of inflammatory mediators (Nathan,
characterized by higher levels of cytokines when compared to healthy              2006). Platelets are an aspecific first line inflammatory marker that
controls with consistent results in literature when considering IL-1β, IL-        mediate endothelial permeability and recruitment of neutrophils and
6, IL-10, CCL2, TNF-α, and transforming growth factor-β (TGF-β)                   macrophages and their effector functions. Platelet activation is mediated
(Enache et al., 2019; Eyre et al., 2016; Howren et al., 2009; Kohler et al.,      by serotonin, dopamine, glutamate, cytokines and P-selectin, all of them
2017; Poletti et al., 2020b). NLR, MLR and SII are low-cost, suitable for         plays an important role in psychiatric disorders (Dietrich-Muszalska and
clinical routine analysis, and reproducible markers of the systemic in­           Wachowicz, 2017). Finally, lymphocytes are primarily involved in
flammatory response, which can be easily derived from blood cell essay            adaptive immunity, with a regulatory or protective function (Alberts,
and determined under simple laboratory conditions (Balta et al., 2013).           2008). Considering together three complementary cells mediating
Several studies have proven that these inflammatory ratios can be used            different immune or inflammatory pathways, SII is less affected by
as inflammatory biomarkers in depression (Mazza et al., 2018; Wang                confounding conditions, and more predictive in evaluating chronic
et al., 2021; Zhou et al., 2020b). In the present study, we have found that       systemic inflammatory status than neutrophils, platelets or lymphocytes
baseline SII predicted severity of depressive psychopathology and neu­            separately (Gibson et al., 2007).
rocognitive performance at the three-months follow-up. In this context,               Neurocognitive impairment has been commonly reported in patients
we have previously found that higher inflammation, quantified by SII, is          with a viral infection. In SARS and MERS, after recovery from the
associated with higher depression in COVID-19 survivors (Mazza et al.,            infection, impairment of memory, attention, concentration, or mental
2020). This finding is consistent with the reported higher depression in          processing speed were reported in more than 15% of patients at a follow-
convalescent COVID-19 patients with higher NLR (Yuan et al., 2020).               up period ranging between 6 weeks and 39 months (Hopkins et al.,
We also observed a protective effect against depression of cytokine-              1999; Sheng et al., 2005). In COVID-19, a dysexecutive syndrome in a
blocking agents (anakinra, a recombinant version of the human IL-1β               third of survivors was described (Helms et al., 2020), as well as cognitive
receptor antagonist, and tocilizumab, a monoclonal antibody targeting             dysfunction in sustained attention domain possibly linked to the un­
the IL-6 receptor), possibly associated with their effect in dampening SII,       derlying inflammatory processes measured with CRP (Zhou et al.,
in hospitalized male patients surviving severe, life-threatening COVID-           2020a). Consistently with previous literature, we observed a high rate of
19 (Benedetti et al., 2020b). SII, considering together neutrophil,               cognitive deficits in COVID-19 survivors at three months, irrespective of
platelet, and lymphocyte, is an objective marker of the balance between           medical severity of the illness, with only 22% of the sample showing a
host systemic inflammation and immune response (Huang et al., 2019).              good performance in all the investigated domains. Executive functions

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and psychomotor coordination were the most involved domain being               5. Conclusions
impaired in 50% and 57% of the sample; information processing, verbal
fluency, and working memory were impaired in around 30% of the                     In conclusion, we observed that COVID-19 survivors remain clini­
sample.                                                                        cally depressed three months after hospital discharge while other
    These effects were influenced both, by the presence of psychopa­           symptoms probably more related to acute psychological stressors such as
thology, and by systemic inflammation, thus confirming the connection          PTSD, insomnia, and anxiety decrease over time. Depression also affects
between depression, inflammation, and cognition. Many studies have             neurocognitive performances, possibly sharing the same inflammatory
implied that inflammation activation is inextricably linked to cognitive       triggers. Considering that, depression associates with a markedly
dysfunction suggesting a primary role of IL-1β, IL-6, IL-18, and TNF-α         increased risk of all-cause and cause-specific mortality, and given the
(Beydoun et al., 2019; Gorelick, 2010; McAfoose and Baune, 2009).              global burden of COVID-19 infection, timely and longitudinal in­
Recently, elevated NLR was described in mild cognitive impairment,             vestigations of the trajectory and characteristics of COVID-19 associated
while platelet/lymphocyte ratio and SII associated with risk of dementia       neuropsychiatric outcomes are critical for the personalized treatment of
in the general population (An et al., 2019; van der Willik et al., 2019).      survivors in the following months and years.
    In patients with a depressive episode in course of Major Depressive
Disorder (MDD) or Bipolar Disorder (BD), we have previously reported
                                                                               Declaration of Competing Interest
an association of peripheral IL-8, TNF-α, CCL2, CCL4 with cortical
thickness (Poletti et al., 2019); of IL-1β, IL-9, CCL5 with brain glutamate,
                                                                                   The authors declare that they have no known competing financial
N-acetylaspartate, and Myo-Inositol levels (Poletti et al., 2020a); and of
                                                                               interests or personal relationships that could have appeared to influence
IL-8, IL-10, TNF-α, IFN-γ with white matter (WM) microstructure, with
                                                                               the work reported in this paper.
levels of inflammatory cytokines being inversely related with measures
of WM integrity (Benedetti et al., 2016). We also associated this WM
phenotype with neurocognitive dysfunctions (Poletti et al., 2015), an          Acknowledgements
effect proportional to illness duration (Melloni et al., 2019). Consistent
with the present findings, attention and information processing, verbal           The COVID-19 BioB Outpatient Clinic Study group also includes: Vai
memory, and psychomotor coordination were among the affected do­               Benedetta, Bollettini Irene, Melloni Elisa Maria Teresa, Mazza Elena
mains, and given that the lifetime speed of information processing             Beatrice, Aggio Veronica, Bosio Sara, Bravi Beatrice, Caselani Elisa,
closely associates with WM microstructure in humans and in animal              Colombo Federica, D’orsi Greta, Di Pasquasio Camilla, Fiore Paola,
models (Bartzokis et al., 2012; Kochunov et al., 2007; Lu et al., 2013),       Calvisi Stefania, Canti Valentina, Castellani Jacopo, Cilla Marta, Cinel
we can surmise that subtle effects on structural and functional brain          Elena, Damanti Sarah, Ferrante Marica, Martinenghi Sabina, Santini
connectivity could mediate the detrimental effects of COVID-19 on              Chiara, Vitali Giordano.
neurocognition.
    The potential linkage between inflammatory status, depressive              Funding
symptomatology, and associated neurocognitive dysfunction in patients
with COVID-19 should then be investigated in long-term longitudinal                None.
studies, to better personalize treatment options (Benedetti et al., 2020b).
As such, we hypothesize that COVID-19 could result in prolonged sys­           Appendix A. Supplementary data
temic inflammation that could lead to the development of persistent
depression. We found at three months follow-up that 20 patients (8.9%             Supplementary data associated with this article can be found, in the
of the total) met the criteria for the diagnosis of a depressive episode.      online version, at https://doi.org/10.1016/j.bbi.2021.02.021.
When considering self-report assessment, 28% of the whole sample
scored in the pathological range for depression according to ZSDS index
                                                                               References
and 9% according to the more conservative BDI-13 (Shafer, 2006), the
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According to literature and consistent with our findings at one-month          Akaike, H., 1974. A new look at the statistical model identification. IEEE Trans. Autom.
follow-up study, we observed that females, patients with positive psy­             Control 19, 716–723.
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patients needed psychopharmacological treatment, and interestingly                 of neutrophil-lymphocyte ratio with mild cognitive impairment in elderly chinese
in 9% of patients with no previous psychiatric history were started a              adults: a case-control study. Curr. Alzheimer Res. 16, 1309–1315.
pharmacological treatment. Considering this percentage, and given the          Anselmetti, S., Poletti, S., Ermoli, E., Bechi, M., Cappa, S., Venneri, A., Smeraldi, E.,
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    The present results must be viewed in light of some limitations. The
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subgroup of patients with assessment of the inflammatory state at three            ratio may be predict of mortality in all conditions. Br. J. Cancer 109, 3125–3126.
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The limited health care resources and patient’s compliance related to the      Bechter, K., 2013. Virus infection as a cause of inflammation in psychiatric disorders.
clinical setting forced us to choose an unstructured interview format              Mod. Trends Pharmacopsychiatry 28, 49–60.
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SARS-CoV-2 infects brain astrocytes of COVID-19 patients
                                                                                                                                             Posted July 07, 2021.
and impairs neuronal viability

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 Abstract                                                                                                                                                 Dermatology

                                                                                                                                                          Emergency Medicine
    One increasingly documented tendency of COVID-19 patients is to exhibit neuropsychiatric
                                                                                                                                                          Endocrinology (including Diabetes Mellitus and Metabolic
    and neurological symptoms. Here we found that anxiety and cognitive impairment are                                                                    Disease)

    manifested by 28-56% of COVID-19 convalescent individuals with mild respiratory symptoms                                                              Epidemiology

    and are associated with altered cerebral cortical thickness. Using an independent cohort, we                                                          Forensic Medicine

    found histopathological signs of brain damage in 25% of individuals who died of COVID-19.                                                             Gastroenterology

    All of the affected brain tissue studied exhibited foci of SARS-CoV-2 infection and replication,                                                      Genetic and Genomic Medicine

    particularly astrocytes. We also found that neural stem cell-derived human astrocytes in vitro                                                        Geriatric Medicine

    are susceptible to SARS-CoV-2 infection through a mechanism that involves spike-NRP1                                                                  Health Economics

    interaction. SARS-CoV-2-infected astrocytes manifested changes in energy metabolism and                                                               Health Informatics

    in key proteins and metabolites used to fuel neurons, as well as in the biogenesis of                                                                 Health Policy

    neurotransmitters. Moreover, infection elicits a secretory phenotype that reduces neuronal                                                            Health Systems and Quality Improvement

    viability. Our data support the model in which SARS-CoV-2 reaches the brain, infects                                                                  Hematology

    astrocytes and consequently leads to neuronal death or dysfunction. These deregulated                                                                 HIV/AIDS

    processes are also likely to contribute to the structural and functional alterations seen in the                                                      Infectious Diseases (except HIV/AIDS)

    brains of COVID-19 patients.                                                                                                                          Intensive Care and Critical Care Medicine

                                                                                                                                                          Medical Education
 INTRODUCTION
                                                                                                                                                          Medical Ethics

    COVID-19 is a disease caused by infection with the severe acute respiratory syndrome                                                                  Nephrology

    coronavirus 2 (SARS-CoV-2). Although the hallmark symptoms of COVID-19 are respiratory                                                                Neurology

    in nature and related to pulmonary infection, a growing body of evidence has demonstrated                                                             Nursing

    that SARS-CoV-2 has extrapulmonary effects (Gupta et al., 2020; Yang et al., 2020b)                                                                   Nutrition

    including in the central nervous system (CNS)(Nalbandian et al., 2021). Notably, over 30%                                                             Obstetrics and Gynecology

    of hospitalized COVID-19 patients manifest neurological and even neuropsychiatric                                                                     Occupational and Environmental Health

    symptoms (Kotfis et al., 2020; Mao et al., 2020), and may eventually present some degree                                                              Oncology

    of encephalitis (Varatharaj et al., 2020). One study revealed that more than half of                                                                  Ophthalmology

    hospitalized patients continue to exhibit neurological symptoms as long as approximately                                                              Orthopedics

    three months after the acute stage (Lu et al., 2020). Impaired cognition was also confirmed                                                           Otolaryngology

    in recovered patients after hospitalization (Batty et al., 2020; Mcloughlin et al., 2020; Pinna                                                       Pain Medicine

    et al., 2020; Zhou et al., 2020) and neurological impairment is consistent with substantial                                                           Palliative Medicine

    damage to the nervous system (De Felice et al., 2020). Previous studies on Severe Acute                                                               Pathology

    Respiratory Syndrome (SARS) patients reported the presence of the SARS coronavirus in                                                                 Pediatrics

    the brain tissue and cerebrospinal fluid of subjects who presented neurological symptoms                                                              Pharmacology and Therapeutics

    (Hung et al., 2003; Lau et al., 2004; Xu et al., 2005). SARS-CoV-2 RNA was also detected                                                              Primary Care Research

    in the cerebrospinal fluid of patients with meningitis (Bernard-Valnet et al.; Huang et al.,                                                          Psychiatry and Clinical Psychology

    2020; Moriguchi et al., 2020). Moreover, alterations in the cerebral cortical region,                                                                 Public and Global Health

    compatible with viral infection (Politi et al., 2020), loss of white matter and axonal injury                                                         Radiology and Imaging

    (Reichard et al., 2020), have all been reported in COVID-19 patients.                                                                                 Rehabilitation Medicine and Physical Therapy

                                                                                                                                                          Respiratory Medicine
    In line with the potential neurotropic properties of SARS-CoV-2, recent evidence
                                                                                                                                                          Rheumatology
    demonstrated the presence of viral proteins in brain regions of COVID-19 patients and in the
                                                                                                                                                          Sexual and Reproductive Health
    brains of K18-ACE2 transgenic mice infected with SARS-CoV-2 (Matschke et al., 2020;
                                                                                                                                                          Sports Medicine
    Song et al., 2020). The presence of SARS-CoV-2 in the human brain has been associated
                                                                                                                                                          Surgery
    with significant astrogliosis, microgliosis and immune cell accumulation (Matschke et al.,
                                                                                                                                                          Toxicology
    2020). Further indicating the ability of SARS-CoV-2 to infect cells of the CNS, Song and
                                                                                                                                                          Transplantation
    colleagues showed that SARS-CoV-2 infects human brain organoid cells in culture (Song et
                                                                                                                                                          Urology
    al., 2020) Despite the accumulating evidence, little is known about the cellular and molecular
    mechanisms involved in SARS-CoV-2 infection of the brain and the consequent
    repercussions on brain structure and functionality. To gain further insight into the
    neuropathological and neurological consequences of COVID-19 and possible cellular and
    molecular mechanisms, we performed a broad translational investigation associating clinical
    and brain imaging features of COVID-19 patients with neuropathological and biochemical
    changes caused by SARS-CoV-2 infection in the CNS. We found that astrocytes are the main
    sites of viral infection and replication within the CNS. SARS-CoV-2-infected astrocytes
    exhibited marked metabolic changes resulting in a reduction of metabolites used to fuel
    neurons and build neurotransmitters. Infected astrocytes also secrete an unidentified factor,
    or combination of factors, that leads to neuronal death. These events might be responsible
    for the neuropathological alterations and neuropsychiatric symptoms observed in COVID-19
    patients.



 RESULTS

    Neuropsychiatric symptoms in convalescent COVID-19 patients correlate with altered
    cerebral cortical thickness

    To explore the occurrences of brain damage in COVID-19 patients and dissociate it from the
    indirect consequences of the severe stage of the disease, we performed cortical surface-
    based morphometry analysis using high-resolution 3T MRI on 81 subjects diagnosed with
    COVID-19 who had mild respiratory symptoms and did not require hospitalization or oxygen
    support. The analysis was performed within an average (SD) interval of 57 (26) days after
    SARS-CoV-2 detection by RT-qPCR and the subjects were compared to 145 healthy
    volunteers collected pre-covid period (Tables S1 and S2). The analysis revealed areas of
    reduced cortical thickness in the left lingual gyrus; calcarine sulcus, including the cuneus; and
    olfactory sulcus, including the rectus gyrus (Figure 1A). In contrast, increased thickness was
    detected in the central sulcus, including the precentral and postcentral gyrus, and superior
    occipital gyrus (Figure 1A), which can be associated with vasogenic edemas (Biega et al.,
    2006). A subgroup of these individuals (n = 61) were subjected to neuropsychological
    evaluation for anxiety (Beck Anxiety Inventory, BAI), depression (Beck Depression Inventory,
    BDI), logical memory (Wechsler Memory Scale), cognitive functions (TRAIL Making Test) and
    fatigue (Chalder Fatigue Questionnaire, CFQ). These tests were performed between 21 and
    120 days after diagnosis (median of 59 days). Symptoms of anxiety were identified in
    approximately 28% of the subjects, and 20% of individuals presented symptoms of
    depression (Figure S1A). Nearly 28% of participants performed abnormally on the logical
    memory test and regarding cognitive function, approximately 34% and 56% performed
    abnormally with TRAIL A and B, respectively (Table S3 and Figure S1B).




                                                                                                            ,




   Figure S1.                                                                                 Download figure | Open in new tab

   Frequency of neuropsychological impairment in individuals after mild infection.
   The subgroup of individuals who underwent neuropsychological evaluation presented a median age of 37.8 years (range 21-63
   years), 16 years of education (range 6-24 years) and 59 days after COVID-19 diagnosis (range 21-120 days). The median values of
   BDI (Beck Depression Inventory; scale 0-36), and also of BAI (Beck Anxiety Inventory; scale 0-45) were 6 points. The median
   score of CFQ-11 (Chalder Fatigue Questionnaire) was 16 (scale 0-32). (A) Severity of symptoms of anxiety (BAI) and depression
   (BDI). (B) Severity of impairments in logical memory (LM; Wechsler Memory Scale) and cognitive function (TRAIL Making Test A
   and B).




   Table 1.                                                                                               View inline | View popup
   Reduced cortical thickness in the left hemisphere




   Table 2.                                                                                               View inline | View popup
   Increased cortical thickness in the right hemisphere




   Table 3.                                                                                               View inline | View popup
   Results of Neuropsychological tests (in z-score)




                                                                                                        ,




   Figure 1.                                                                                  Download figure | Open in new tab

   Altered cerebral cortical thickness is associated with neuropsychiatric symptoms in COVID-19 patients.
   (A) Surface-based morphometry using high-resolution 3T MRI. Yellow represents areas of decreased cortical thickness: left lingual
   gyrus, calcarine sulcus (and cuneus) and olfactory sulcus (and rectus gyrus). Blue represents areas of increased cortical thickness:
   central sulcus (precentral and postcentral gyrus) and superior occipital gyrus. Representative image of the analysis of 81 subjects
   who tested positive for SARS-CoV-2 (who had mild respiratory symptoms and did not require hospitalization or oxygen support)
   compared to 145 healthy volunteers (without diagnosis of COVID-19). The analysis was performed within an average (SD)
   interval of 57.23 (25.91) days.

   (B) Correlation between anxiety scores (BAI) and right orbital gyrus thickness. The data depicts Pearson’s correlation coefficient
   and region of interest in representative images.

   (C) Correlation between TRAIL B cognitive performance scores and right gyrus rectus thickness. Data depict Pearson’s
   correlation coefficient and region of interest in representative images.




    When cortical thickness was studied alongside the data from the neurophysiological
    evaluation, a negative correlation was observed between BAI scores and cortical thickness of
    orbitofrontal regions (adjusted for CFQ) (Figure 1B and Table S4) and a positive correlation
    was observed between TRAIL B and cortical thickness of the right gyrus rectus (Figure 1C
    and Table S5). We additionally identified significant partial correlations between logical
    memory (immediate recall test, adjusted for BAI, BDI and CFQ) and cortical thickness of
    regions associated with language (Table S6). These results suggest that a thinner cortex in
    these areas is associated with poor performance on this verbal memory task. Overall, our
    findings indicate major alterations in cortical structure are associated with neuropsychiatric
    symptoms in COVID-19 patients with mild or no respiratory symptoms.


   Table 4.                                                                                               View inline | View popup
   Correlations between BAI scores and cortical thickness of orbitofrontal regions




   Table 5.                                                                                               View inline | View popup
   Correlations between TRAIL B scores and thickness of gyrus rectus




   Table 6.                                                                                               View inline | View popup
   Correlations between Logical memory (immediate recall) scores and cortical thickness of IFG and STG.



    SARS-CoV-2 infects and replicates in human brain astrocytes of COVID-19 patients

    Brain alterations in COVID-19 patients are hypothesized to be a consequence of either
    inflammatory or hemodynamic changes secondary to peripheral infection or SARS-CoV-2
    invading the CNS and compromising cell viability and brain function. Although exacerbated
    inflammation and cardiovascular dysfunction have been well-characterized in COVID-19
    patients who progress to the severe stages of the disease (Li et al., 2020), the degree of
    infection of the CNS by SARS-CoV-2 remains elusive. We performed a minimally invasive
    autopsy via endonasal trans-ethmoidal access to obtain brain samples from 26 individuals
    who died of COVID-19. Notably, these samples were from brain regions close to the areas in
    which we identified altered cortical thickness in the patients of the previous cohort. Initially,
    we performed an unbiased histopathological analysis of hematoxylin and eosin-stained brain
    sections to search for features of brain alterations. In our analyses, we observed alterations
    consistent with necrosis and inflammation in 25% of the brain tissues from these individuals
    (5 out of 26; Table S7). A deeper analysis revealed a strong predominance of senile changes
    such as corpora amylacea, lipofuscin deposits and parenchymal retraction around the
    vessels and the meninges. As brain sampling was performed via transsphenoidal by
    intranasal puncture, alternating white and gray matter was observed. The intraparenchymal
    inflammatory process was minimal, but present, represented by lymphocytes and
    perivascular microglia proliferation. In two cases, more intense inflammation was observed,
    delimiting tiny inflammatory aggregates, associated with endothelial hyperplasia or
    gemistocytic astrocytes. Cases with nasal epithelium sampled together with brain puncture
    demonstrated adaptive epithelial changes with cell balonization of the most superficial cells.
    Few cases showed small, multifocal areas of liquefaction necrosis (Figures 2A and S2A).




                                                                                                        ,




   Figure S2.                                                                                 Download figure | Open in new tab

   SARS-CoV-2 infects the central nervous system and replicates in astrocytes.
   (A) Histopathological alterations revealed by H&E images of postmortem brain tissue from individuals who died of COVID-19.
   Samples from 26 individuals were analyzed; 5 showed alterations. Case 1: intraparenchymal cerebral vessel with margination of
   inflammatory cells through endothelium; Case 2: focal infiltration of inflammatory cells – diapedesis; Case 3: intraparenchymal
   vascular damage; Case 4: perivascular edema and senile corpora amylacea. Case 5 is shown in Figure 2.

   (B) Representative confocal images of the brain tissue of the 5 COVID-19 patients who manifested histopathological alterations.
   Staining of glial fibrillary acidic protein (GFAP, red), double-stranded RNA (dsRNA, magenta), SARS-CoV-2-S (green) and nuclei
   (DAPI, blue). Images were acquired with 630x magnification. Scale bar indicates 50µm.




   Table 7:                                                                                               View inline | View popup
   COVID-19 patient characteristics




                                                                                                        ,




   Figure 2.                                                                                  Download figure | Open in new tab

   SARS-CoV-2 infects the central nervous system, replicates in astrocytes and causes brain damage.
   (A) Histopathological H&E images of postmortem brain tissue from individuals who died of COVID-19. Five out of 26 individuals
   showed signs of brain damage as represented in the images by (I) areas of necrosis, cytopathic damage (i.e., enlarged,
   hyperchromatic, atypical-appearing nuclei), vessels with margination of leukocytes and thrombi (II) and an infiltration of immune
   cells (III). The alterations are indicated by red asterisks and a respective zoom. Images were acquired with 400x magnification.
   Scale bar indicates 50 µm.

   (B) Viral load in brain tissues from the five COVID-19 patients who manifested histopathological alterations in the brain as
   compared to samples from SARS-CoV-2-negative controls (n=5 per group).

   (C) Representative confocal images of the brain tissue of one COVID-19 patient who manifested histopathological alterations.
   Immunofluorescence targeting glial fibrillary acidic protein (GFAP, red), double-stranded RNA (dsRNA, magenta), SARS-CoV-2-S
   (green), and nuclei (DAPI, blue). Images were acquired with 630x magnification. Scale bar indicates 50 µm.

   (D) Percentage of SARS-CoV-2-S positive cells in this tissue.

   (E) Percentage of GFAP-positive vs. unidentified cells, Iba1 and NeuN among infected cells. Ten fields/cases were analyzed.

   (F) Pearson’s correlation coefficient demonstrating colocalization of SARS-CoV-2-S and dsRNA within GFAP-positive cells.

   All data are shown as mean ± SEM. P-values were determined by two-tailed unpaired tests with Welch’s correction (B) or
   ANOVA one-way followed by Tukey’s post hoc test (E).*P < 0.05 compared to the control group; **** P < 0.0001 compared to
   unidentified cells, Iba1 and NeuN groups.




    Next, we sought to evaluate the presence of SARS-CoV-2 in the five brain samples that
    presented histopathological alterations. Notably, SARS-CoV-2 genetic material and spike
    protein were detected in all five samples (Figures 2B and 2C). On average, SARS-CoV-2
    spike protein was detected in 37% of the cells in the brain tissue (Figure 2D), the majority of
    these SARS-CoV-2 spike-positive cells (65.93%) being astrocytes (GFAP+ cells; Figures 2E
    and S2B). As such, approximately 25% of all cells in the brain samples of the five COVID-19
    patients we analyzed were infected astrocytes. We also detected SARS-CoV-2 spike protein
    in neurons (NeuN+ cells; Figures 2E and S3A), but not in microglia (Iba-1+ cells; Figures 2E
    and S3B). The specificity of anti-spike antibodies was validated in brain tissue of COVID-19-
    free cases and in SARS-CoV-2-infected Vero cells (Figures S4A-S4C). Additionally, the
    presence of SARS-CoV-2 spike protein was directly correlated with the presence of double-
    stranded RNA (dsRNA) in the cells (Figures 2C and 2F), indicating the presence of
    replicative viruses in the brain tissue (Weber et al., 2006).




                                                                                                        ,




   Figure S3.                                                                                 Download figure | Open in new tab

   SARS-CoV-2 infects neurons, but not microglia, in the brains of COVID-19 patients.
   (A-B) Representative immunostaining and confocal analysis from brain slices from autopsies of COVID-19 patients (n=5). The
   image depicts staining for: (B) nuclei (DAPI, blue), NeuN (red, neuronal marker), dsRNA (magenta) and SARS-CoV-2-S (green);
   and (C) nuclei (DAPI, blue), ionized calcium-binding adaptor molecule 1 (Iba1, red, microglial marker), dsRNA (magenta) and
   SARS-CoV-2-S (green). Images were acquired with 630x magnification. Scale bar indicates 50µm.




                                                                                                        ,




   Figure S4.                                                                                 Download figure | Open in new tab

   Validation of antibodies against SARS-CoV-2 spike (S) protein.
   Representative immunostaining and confocal analysis in SARS-CoV-2-infected Vero cells and brain slices from control cases (non-
   COVID-19) staining with different titrations for anti-S antibodies (1:200, 1:500 and 1:1000). Immunofluorescence images show:
   nuclei (DAPI, blue) and (A) SARS-CoV-2-S (green, human chimeric monoclonal anti-SARS-CoV-2 spike S1, GeneScript, clone
   HC2001, Cat. A02038),

   (B) SARS-CoV-2-S (green, rabbit polyclonal anti-SARS-CoV-2 spike, Rhea Biotech, Cat. IM-0828) or

   (C) SARS-CoV-2-S (green, rabbit monoclonal anti-SARS-CoV-2 spike, clone T01KHuRb, Cat. 703959). Images were acquired with
   630x magnification at the same laser intensity. Scale bar indicates 50µm.




    To confirm SARS-CoV-2 infects human astrocytes, we analyzed healthy human brain slices
    that were exposed to SARS-CoV-2. Both SARS-CoV-2 spike protein and double-stranded
    RNA were detected in human brain slices 48 hours post infection (Figure 3A). The SARS-
    CoV-2 genome was also detected by RT-PCR in brain slices infected at 24 and 48 hours post
    infection (Figure 3B). SARS-CoV-2 infection in astrocytes was confirmed by immunostaining
    the SARS-CoV-2 spike protein and GFAP (Figure 3C). We showed that the majority of the
    spike-positive cells (5.65% of total cells) were positive for GFAP (58.33% of infected cells;
    Figure 3D). Taken together, these data indicate that SARS-CoV-2 can preferentially infect
    astrocytes - and replicate within them - in human brain slices, which is in line with findings
    from human postmortem brains.




                                                                                                        ,




   Figure 3.                                                                                  Download figure | Open in new tab

   SARS-CoV-2 infects, replicates and preferentially targets astrocytes in adult human brain slices.
   (A) Representative images of uninfected control (mock) and SARS-CoV-2-infected human brain slices. Tissue sections were
   stained for SARS-CoV-2 spike protein (green), double stranded RNA (magenta), and nuclei (DAPI, blue), as indicated. Scale bar
   indicates 20 µm. Higher magnification is shown in I.

   (B) Viral load determined by RT-PCR in a human brain slice infected by SARS-CoV-2 at 0, 24 and 48 hours post infection
   compared to mock-slices (n=2 slices from one patient).

   (C) Representative cells double-labeled with SARS-CoV-2 spike protein (green) and GFAP (red) are shown at a higher
   magnification in II, III and IV.

   (D) Quantification of cells positive for SARS-CoV-2 spike protein and GFAP in human brain slices (n= 2 fields from one patient).
   Scale bar indicates 20 µm.




    To obtain further evidence of the susceptibility of human astrocytes to SARS-CoV-2 infection,
    neural stem cell-derived human astrocytes (BR-1 cell line) were exposed to the virus and the
    viral load was determined at 24h after infection (Figure 4A). In agreement with what was
    observed in the postmortem brain samples, we confirmed that SARS-CoV-2 infects human
    astrocytes (Figures 4B-4E), shown by the detection of viral genetic material (Figure 4B) and
    spike protein in infected cells (Figures 4C and 4D). dsRNA was also observed in SARS-CoV-
    2-infected astrocytes in vitro, but not in mock-infected control cells, suggesting viral
    replication occurs in these cells (Figures 4C and 4E). We also observed that SARS-CoV-2
    infection reduced human astrocyte viability by 25% after 48h post-infection, and remained at
    that reduced viability after 72h (Figure 4F). To confirm the susceptibility of human astrocytes
    to SARS-CoV-2 infection, we used a replication-competent pseudotyped vesicular stomatitis
    virus (VSV) in which the glycoprotein gene (G) of VSV was replaced by the full-length SARS-
    CoV-2 spike (S) and which contained a eGFP reporter (VSV-eGFP-SARS-CoV-2)(Case et
    al., 2020). Our data revealed that the human astrocyte culture was susceptible to VSV-eGFP-
    SARS-CoV-2 infection, supporting that human astrocytes are susceptible to SARS-CoV-2
    infection (Figures 4G and 4H). We also evaluated viral replication in NSC-derived neurons
    and the SH-SY5Y cell line. The profile of astrocytes revealed a productive viral replication at
    24h, maintained until 48h, showing effective viral replication (Figure 4C and S5A). The NSC-
    derived neurons, on the other hand, showed viral replication within 24h followed by a
    decrease in viral load (Figure S5B). Finally, the profile of SH-SY5Y indicated unproductive
    viral replication (Figure S5C). Altogether, these results indicate that human astrocytes are
    permissive cells for SARS-CoV-2 infection and may also represent a site for viral replication
    in the CNS.




                                                                                                        ,




   Figure S5.                                                                                 Download figure | Open in new tab

   Viral load of Astrocytes, NSC-derived neurons and SH-SY5Y cells in vitro.
   The cells were infected in vitro with SARS-CoV-2 (MOI 1.0) for 1h, washed and harvested 0h, 24h, 48h and 72h after infection.
   SARS-CoV-2 viral load detection used RT-PCR in (A) astrocytes, (B) NSC-derived neuron and (C) SH-SY5Y neuronal cell line cell
   pellets. Data are representative of two independent experiments performed in triplicate and shown as mean ± SEM.




                                                                                                        ,




   Figure 4.                                                                                  Download figure | Open in new tab

   SARS-CoV-2 infects and replicates in astrocytes in vitro.
   (A) Human neural stem cell-derived astrocytes were infected in vitro with SARS-CoV-2 (MOI 1.0) for 1h, washed and harvested
   24h after infection.

   (B) Immunostaining for GFAP (red), double-stranded RNA (dsRNA, magenta), SARS-CoV-2-S (green) and nuclei (DAPI, blue).
   Images were acquired with 630x magnification. Scale bar indicates 50 µm.

   (C) SARS-CoV-2 viral load detection in astrocyte cell pellets (n = 6 replicates) using RT-PCR.

   (D) Percentage of infected astrocytes. The data depict SARS-CoV-2-S and DAPI-stained cells (100 fields were analyzed).

   (E) Frequency of cells containing replicating viruses.

   (F) Astrocyte viability upon SARS-CoV-2 infection was assessed using a luminescence-based cell viability assay (CellTiter-Glo),
   determining the number of live cells by quantification of ATP at 24, 48 and 72 hours post infection.

   (G) Percentage of infected cells with pseudotyped SARS-CoV-2 (VSV-eGFP-SARS-CoV-2) at 24, 48 and 72 hours post infection.

   (H) Staining for DAPI (nuclei, blue), GFAP (astrocytes, red) and eGFP (virus, green) in astrocytes infected with pseudotyped SARS-
   CoV-2 (VSV-eGFP-SARS-CoV-2) at 24, 48 and 72 hours post infection. The data represents the percentage of dsRNA-stained cells
   of SARS-CoV-2-S positive cells (10 fields were analyzed).

   All data are representative of at least two independent experiments performed in triplicate or quadruplicate and shown as mean
   ± SEM. P-values were determined by two-tailed unpaired tests with Welch’s correction (E) or one-way ANOVA followed by
   Tukey’s post hoc test (F and G). **P < 0.01; *** P < 0.001; **** P < 0.0001 compared to the mock group.



    NRP1 is required for infection of astrocytes by SARS-CoV-2

    Since astrocytes are susceptible to SARS-CoV-2 infection, we searched for the cellular
    receptor involved in the viral entry mechanism. To do so, we started by using a publicly
    available single-cell RNAseq dataset from brain samples of COVID-19 patients (Yang et al.,
    2020a) to analyze the expression of classical SARS-CoV-2 receptors such as ACE2, as well
    as alternative receptors NRP1 and BSG (Cantuti-Castelvetri et al., 2020; Daly et al., 2020;
    Wang et al., 2020). These analyses revealed that ACE2 mRNA was undetected in astrocytes
    (data not shown)(Matschke et al., 2020; Yang et al., 2020a). However, astrocytes did
    express detectable levels of NRP1 and BSG mRNA (Figures 5A and 5B). We also found that
    the expression of NRP1 and BSG mRNA was increased in astrocytes from COVID-19
    patients compared to controls (Figures 5A and 5B). Furthermore, the percentage of
    astrocytes expressing these receptors was also higher in the patients (Figures 5A and 5B).
    Since the binding of SARS-CoV-2 spike to BSG remains controversial (Shilts and Wright,
    2020), we decided to explore the possible role of NRP1. Firstly, we performed Western
    blotting using cultured neural stem cell-derived astrocyte extracts to evaluate whether the
    single-cell RNAseq data was also seen in our in vitro model and confirmed at the protein
    level. We confirmed that human astrocytes do not express ACE2, whereas they do express
    NRP1 (Figures 5C-5E and S6). We used A549 cells transduced with ACE2 as the positive
    control. NRP1 receptor expression was seen to be markedly higher than the near-zero ACE2
    expression in all cells (i.e., astrocytes, neural stem cell (NSC)-derived neurons and SH-SY5Y
    cells), and SARS-CoV-2 infection did not affect NRP1 or ACE2 expression (Figure 5D). To
    determine the role of NRP1 in the mechanisms behind SARS-CoV-2 infection in astrocytes,
    we pre-incubated these cells with a neutralizing, anti-NRP1 antibody. Neutralizing NRP1 in
    this manner inhibited the infection of astrocytes by SARS-CoV-2 (Figure 5F). Further
    supporting the participation of NRP1 in the infection of human astrocytes by SARS-CoV-2,
    we found that antibody-based neutralization of NRP1 also inhibited VSV-eGFP-SARS-CoV-2
    infection of cultured astrocytes (Figures 5G and 5H). These results support the hypothesis
    that SARS-CoV-2 infects human astrocytes by interacting with the NRP1 receptor.




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   Figure S6.                                                                                 Download figure | Open in new tab

   Full scan of the original uncropped immunoblots.
   (A) Original immunoblots used in Figure 5C for (A) ACE2 and β-actin, and (B) for NRP1 and β-actin.Regions of interest were
   cropped as indicated in red lines.

   (C-E) Original immunoblots used in Figure 5E for NRP1, ACE2 a and β-actin.




                                                                                                        ,




   Figure 5.                                                                                  Download figure | Open in new tab

   SARS-CoV-2 infects astrocytes via NRP1.
   (A) Percentage of astrocytes expressing entry receptor genes in COVID-19 patients compared to astrocytes from non-infected
   controls.

   (B) BSG and NRP1 are differentially expressed in astrocytes from COVID-19 patients compared to astrocytes from non-infected
   controls. The x-axis shows the average expression difference (scaled) between COVID-19 patients and non-infected controls.

   (C) Immunoblot analyses of ACE2 and NRP1 using an extract of non-infected neural stem cell-derived astrocytes. Beta-actin was
   used as loading control. To control for ACE2 expression, we used A549 cells and A549 cells overexpressing ACE2.

   (D) Gene expression of NRP1 and ACE2 in human neural stem cell-derived astrocytes, NSC-derived neurons and SH-SY5Y cells.
   Gene expression of NRP1 and ACE2 were evaluated by RT-PCR normalized to the expression of 18S. A serial dilution of hACE2
   and NRP1 were used as a standard curve.

   (E) Immunoblot analyses of NRP1 and ACE2 using an extract of non-infected neural stem cell-derived astrocytes, NSC-derived
   neurons and the SH-SY5Y cell line. Beta-actin was used as loading control.

   (F) Neural stem cell-derived astrocytes were pre-incubated with a NRP1-neutralizing antibody and then harvested 24h post
   infection to measure SARS-CoV-2 viral load.

   (G) Astrocytes were stained for DAPI (nuclei, blue), GFAP (astrocytes, red) and eGFP (virus, green). Cells were pre-incubated
   with the NRP1-neutralizing antibody and then assessed 48h post infection with the SARS-CoV-2 pseudotyped virus (VSV-eGFP-
   SARS-CoV-2).

   (H) Percentage of infected cells. Images were acquired with 630x magnification. Scale bar indicates 50 µm. All data are
   representative of at least two independent experiments performed in triplicate and shown as mean ± SEM. P-values were
   determined by one-way ANOVA followed by Tukey’s post (E and G). **P < 0.01; *** P < 0.001; **** P < 0.0001 compared to the
   mock group.                                                 Case 3:21-cr-00118-RLJ-DCP Document 29-2 Filed 02/10/22 Page 11 of 20 PageID #:
                                                                                                                167
  Proteomic and metabolomic changes in SARS-CoV-2-infected human astrocytes

  To identify downstream mechanisms that are triggered by SARS-CoV-2 infection and, as
  such, possibly involved in the changes observed in the brain tissues of COVID-19 patients,
  we analyzed the proteome of SARS-CoV-2-infected human astrocytes (Figure 6A). Liquid
  chromatography-mass spectrometry (LC/MS)-based shotgun proteomics revealed 170
  differentially expressed proteins in SARS-CoV-2-infected astrocytes compared to mock-
  control cells, being 68 upregulated and 102 downregulated (Figure S7A). A subset of the
  differentially expressed proteins showed sufficient differences to compose a molecular
  signature that was able to clearly distinguish the infected astrocytes from mock-controls
  (Figure 6A). Moreover, pathway enrichment and interactome analyses revealed that these
  proteins are involved in a wide range of biological processes and predicted regulatory
  networks affected by SARS-CoV-2 infection (Figure 6B). Pathways involved in
  carbon/glucose metabolism were among the most enriched (Figure 6C). NSC-derived
  neurons and SH-SY5Y cell lines were infected with SARS-CoV-2 and shown a different
  proteome profile (Figure S8A and S8B). Pathways enrichment analysis revealed higher
  similarity between NSC-derived neurons and SH-SY5Y cell lines when compared to NSC-
  derived astrocytes (S8C).




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 Figure S7.                                                                                  Download figure | Open in new tab

 Proteomic analysis of SARS-CoV-2-infected astrocytes and postmortem brain tissue from patients who died with COVID-
 19.
 (A) Volcano plot representing all the differentially expressed proteins found in astrocytes after SARS-CoV-2 infection.

 (B) Top 15 enriched pathways by differentially expressed proteins in postmortem brain tissue from patients who died with
 COVID-19 (as per KEGG database). Dot color represents lower (blue) or higher (red) expression or no change (gray). Bar color
 represents the p value adjusted by the false discovery rate (FDR).




                                                                                                       ,




 Figure S8.                                                                                  Download figure | Open in new tab

 Proteomic analysis of SARS-CoV-2-infected NSC-derived neurons and SH-SY5Y.
 (A) Hierarchical cluster analysis of the protein expression pattern in NSC-derived neurons infected with SARS-CoV-2 (MOI 0.1).

 (B) Hierarchical cluster analysis of the protein expression pattern in SH-SY5Y cells infected with SARS-CoV-2 virus (MOI 0.1).

 (C) Comparison of enrichment pathway analysis of all the statistically deregulated proteins from SARS-CoV-2 infections between
 NSC-derived Astrocytes, NSC-derived Neurons and SH-SY5Y cells.




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 Figure 6.                                                                                   Download figure | Open in new tab

 Proteomic changes in SARS-CoV-2-infected human astrocytes and postmortem brain tissue from COVID-19 patients.
 (A) Hierarchical clustering of differentially expressed proteins in human neural stem cell-derived astrocytes that were infected in
 vitro with SARS-CoV-2 (MOI 0.1) for 1h, washed thoroughly and harvested after 24h. Mock infection was used as a control.

 (B) Reactome functional interaction network of differentially regulated genes in human neural stem cell-derived astrocytes
 infected with SARS-CoV-2. Seven different colors show 7 protein clusters of enriched pathways and the line types represent
 protein-protein interactions and downstream activation or inhibition related to gene modulation, showing how some pathways
 can be affected by SARS-CoV-2 infection (p<0.05 calculated based on binomial test).

 (C) Network of proteins found differentially regulated in SARS-COV-2-infected astrocytes and their respective pathways,
 enriched according to the KEGG database. The pathways are represented by gray circles and their size is proportional to the
 number of proteins differentially regulated; proteins are represented by the smallest circles, colored according to their fold
 change.

 (D) Cell type enrichment analysis using the dataset generated from postmortem brain tissue from patients who died of COVID-19.
 Dot size represents the number of proteins related to the respective cell type and the color represents the p value adjusted by
 false discovery rate (FDR).

 (E) KEGG enrichment analysis of differentially expressed proteins in SARS-CoV-2-infected astrocytes vs. mock as compared to
 postmortem brain tissue from COVID-19 patients vs. controls. Dot size represents the number of proteins related to the
 respective cell type and the color represents the p value adjusted by false discovery rate (FDR).




  We also evaluated whether SARS-CoV-2 can trigger the same response as other neurotropic
  viruses, such as the Zika virus (ZIKV). In this case, we infected NSC-derived astrocytes with
  SARS-CoV-2 and ZIKV with a MOI of 1.0. While overall protein identification provided high
  overlap, the statistically different proteins for each condition showed low similarity, indicating
  that the molecular changes induced by ZIKV and SARS-CoV-2 are distinct (Figures S9A-
  S9D). When the KEGG Pathway Database was used for analyses, the enriched pathways in
  SARS-CoV-2 and ZIKV showed little overlap; however when the Reactome Pathway
  Database was used, a higher overlap was observed between the enriched pathways.
  Altogether, these results demonstrate that SARS-CoV-2 and ZIKV elicit specific cell
  responses (Figure S9E).




                                                                                                       ,




 Figure S9.                                                                                  Download figure | Open in new tab

 (A) Venn diagram of all proteins identified by Progenesis QI for Proteomics using the Homo sapiens data bank (UNIPROT -
 UP000189706) and 1% FDR after NSC-derived astrocyte infection with SARS-CoV-2 and ZIKV.

 (B) Venn diagram of all proteins found significantly deregulated by label-free analysis between SARS-CoV-2 and ZIKV.

 (C) Hierarchical cluster analysis of the protein expression pattern in NSC-derived astrocytes infected with ZIKV (MOI 1.0).

 (D) Hierarchical cluster analysis of the protein expression pattern in NSC-derived astrocytes infected with SARS-CoV-2 virus
 (MOI 1.0).

 (E) Enrichment pathway analysis of all the statistically deregulated proteins from SARS-CoV-2 and ZIKV infections.




  We also conducted LC/MS proteomics with a separate set of samples consisting of 12
  postmortem brain samples from COVID-19 patients vs. 8 SARS-CoV-2-negative controls. We
  identified 656 differentially expressed proteins, 117 downregulated and 539 upregulated.
  Pathways associated with neurodegenerative diseases, carbon metabolism and oxidative
  phosphorylation were enriched in these samples (Figure S7B). Notably, astrocytic proteins
  were the most present among the differentially expressed proteins, consistent with the higher
  frequency of infected astrocytes observed in COVID-19 postmortem brains (Figure 6D).
  Proteins found differentially expressed in SARS-CoV-2-infected astrocytes and in
  postmortem brain tissue samples were commonly associated with
  glycolysis/gluconeogenesis, carbon metabolism and the pentose phosphate pathway (Figure
  6E). Collectively, these data indicate that SARS-CoV-2 infects astrocytes in the CNS,
  affecting energy metabolism and modulating proteins associated with neurodegeneration.

  Since there are significant proteomic alterations in metabolic pathways, we sought to
  investigate whether the infection of human astrocytes would impact the levels of key
  metabolites involved in energy metabolism. LC/MS-based metabolomic analysis of SARS-
  CoV-2-infected astrocytes showed marked changes in metabolic intermediates of glycolysis
  and anaplerotic reactions, indicating a remodeling of astrocyte metabolism (Figure 7A). This
  phenomenon was marked by the decrease in pyruvate and lactate, which are downstream
  metabolites of the glycolytic pathway, as well as a reduction in glutamine and intermediates
  of glutamine metabolism such as glutamate, GABA and alpha-ketoglutarate (Figure 7A).
  Despite these variations, there were no significant changes in tricarboxylic acid cycle (TCA
  cycle) intermediates (Figure S10). SARS-CoV-2 infected-astrocyte bioenergetics were
  further characterized by Seahorse Extracellular Flux analysis, showing increased respiration
  in infected cells (Figure 7B). This was due to an increase in both mitochondrial (maximal
  respiration) and non-mitochondrial oxygen consumption in SARS-CoV-2-infected astrocytes;
  the former was linked to higher proton leakage indicating increased uncoupled respiration
  (Figures 7B and 7C). Together, these results demonstrate increased metabolic activity in
  SARS-CoV-2-infected astrocytes and a reduction of metabolites used by these cells to
  support neuronal metabolism and function.




                                                                                                       ,




 Figure S10.                                                                                 Download figure | Open in new tab

 Metabolomic analysis of SARS-CoV-2-infected astrocytes.
 Human neural stem cell-derived astrocytes were infected in vitro with SARS-CoV-2 (MOI 0.1) for 1h, washed thoroughly and
 harvested after 24h. Mock infection was used as a control. High-resolution mass spectrometry quantification of citrate, palmitate,
 aconitate, itaconate, succinate, 2-hydroxyglutarate, fumarate, malate, oxaloacetate and acetate in SARS-CoV-2 infected astrocytes
 vs. mock. The integration area of each peak was used to calculate the violin plot graph and an unpaired t-test with Welch’s
 correction was used for statistical comparison.




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 Figure 7.                                                                                   Download figure | Open in new tab

 SARS-CoV-2 infection alters astrocyte metabolism.
 Human neural stem cell-derived astrocytes were infected in vitro with SARS-CoV-2 (MOI 0.1) for 1h, washed thoroughly and
 harvested after 24h. Mock infection was used as a control.

 (A) High-resolution mass spectrometry quantification of pyruvate, lactate, glutamine, glutamate, GABA and ⍺-ketoglutarate in
 SARS-CoV-2 infected astrocytes vs. mock. The integration area of each peak was used to calculate the violin plot graph and an
 unpaired t-test with Welch’s correction was used for statistical comparison.

 (B) Oxygen consumption rate (OCR) of SARS-CoV-2 infected astrocytes vs. mock. SeaHorse Flux Analysis using the MitoStress
 test where basal respiration was measured followed by determination of respiration in response to oligomycin, FCCP, and
 rotenone/antimycin. Data are representative of at least two independent experiments performed in triplicate (metabolomics) or
 quintuplicate (SeaHorse Flux analysis), and shown as mean ± SEM. P values were determined by two-tailed unpaired t-test with
 Welch’s correction. *P < 0.05; **P < 0.01; **** P < 0.0001 compared to mock.



  Conditioned medium from SARS-CoV-2-infected astrocytes reduces neuronal viability

  Astrocytes are essential in the control of brain homeostasis, not only because they are the
  main energy reservoirs of the brain (Rouach et al., 2008) but also due to their important role
  in protective responses to cell damage triggered by infection or sterile inflammation
  (Liddelow et al., 2017; Yun et al., 2018). There is evidence that astrocytes secrete yet
  undetermined neurotoxic factors (Guttenplan et al., 2020a; Liddelow et al., 2017; Yun et
  al., 2018) and are also involved in the uptake, synthesis and distribution of brain metabolites
  (Gandhi et al., 2009; Simpson et al., 2007). Thus, we investigated whether neuronal
  viability could be indirectly affected by exposure to media conditioned by SARS-CoV-2-
  infected astrocytes. To test this hypothesis, we cultured either NSC-derived neurons or
  differentiated SH-SY5Y neurons for 24 h in a control or conditioned medium, in which SARS-
  CoV-2-infected astrocytes were grown (Figure 8A). The conditioned medium increased the
  rate of apoptosis by 45.5% and 22.7% in NSC-derived neurons and SH-SY5Y neurons,
  respectively (Figures 8B-8E, and Figures S11A and S11B). This is despite the fact that
  NSC-derived neurons and SH-SY5Y neurons did not present a reduction in cell viability after
  24h when directly exposed to SARS-CoV-2 (Figures 8D and 8E) nor was there a reduction in
  viability after 48h or 72h (Figures S11C and S11D). Nonetheless, neuronal exposure to the
  medium conditioned by SARS-CoV-2-infected astrocytes reduced the neuronal viability after
  24h (Figure S11E). It is noteworthy that SARS-CoV-2 genetic material was not detected in
  SH-SY5Y neurons and NSC-derived neurons incubated with SARS-CoV-2-infected astrocyte-
  conditioned medium (Figures 8F and S11F), ruling out the possibility that neuronal death
  was due to infectious particles present in the conditioned medium. These results suggest that
  SARS-CoV-2-infected astrocytes release soluble factors which reduce neuronal viability.




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 Figure S11.                                                                                 Download figure | Open in new tab

 Medium conditioned by SARS-CoV-2-infected astrocytes reduces neuronal viability despite no change from direct virus
 exposure to neurons.
 Differentiated SH-SY5Y cells were cultured for 24h in the presence of medium conditioned by SARS-CoV-2-infected astrocytes
 (ACM CoV-2) or uninfected astrocytes (ACM CTL). Cellular viability was measured by apotracker/fixable viability stain (FVS) and
 analyzed by flow cytometry.

 (A) Representative gating strategies.

 (B) Representative dot-plots of neuronal viability.

 (C) NSC-derived neuron and (D) SH-SY5Y neuronal cell viability upon SARS-CoV-2 infection. The cells were infected in vitro with
 SARS-CoV-2 (MOI 1.0) for 1h, washed thoroughly and harvested after 24h. Mock infection was used as a control. The NSC-
 derived neurons were assessed using a ATP-quantifying, luminescence-based cell viability assay (CellTiter-Glo) at 24h, 48h and 72h
 post infection. SH-SY5Y viability was assessed using calcein AM staining (Invitrogen) at 24, 48 and 72 hours post infection.

 (E) Differentiated SH-SY5Y cells were cultured for 24h in the presence of medium conditioned by SARS-CoV-2-infected
 astrocytes (ACM CoV-2) or uninfected astrocytes (ACM CTL).

 (F) SH-SY5Y neuronal cell line and (G) NSC-derive neurons were exposed for 24h to media conditioned by astrocytes for 24h,
 48h and 72h. Cellular viability was measured by apotracker/fixable viability stain (FVS) and analyzed by flow cytometry.
 Representative graph of percentage of live cells represents the double-negative population of (F) SH-SY5Y cells and (G) NSC-
 derived neurons. Data are representative of two independent experiments performed in triplicate (A,B,F,G) or quintuplicate
 (C,D,E) and shown as mean ± SEM. P values were determined by one-way ANOVA followed by Tukey’s post hoc test. *P < 0.05;
 **P < 0.01; ***P < 0.001 compared to the mock group.




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 Figure 8.                                                                                   Download figure | Open in new tab

 Medium conditioned by SARS-CoV-2-infected astrocytes reduces neuronal viability.
 (A) Human NSC-derived neurons and SH-SY5Y neuronal cells were cultured for 24h in the presence of media conditioned by
 uninfected astrocytes (mock infection; ACM CTL) or SARS-CoV-2-infected astrocytes (ACM CoV-2).

 (B) Cellular viability as measured by apotracker/fixable viability stain (FVS) and analyzed by flow cytometry. Representative gating
 strategies are shown.

 (C) Representative dot-plots of neuronal viability.

 (D) Percentage of living or nonliving NSC-derived neurons and (E) SH-SY5Y cells. Cells were classified as living (gray bars; double-
 negative), in early apoptosis (purple bars; apotracker+/FVS-) in late apoptosis (pink bars; double-positive) or necrotic (green bars
 apotracker-/FVS+).

 (E) SARS-CoV-2 viral load detection in differentiated SH-SY5Y neurons using RT-PCR. Data are representative of two
 independent experiments performed in triplicate, and shown as mean ± SEM. P values were determined by one-way ANOVA
 followed by Tukey’s post hoc test. ***P < 0.001; ****P < 0.0001 compared to the mock group.




DISCUSSION

  Our study evidences structural and functional alterations in the brain tissue of COVID-19
  patients which correlate with neuropsychiatric and neurological dysfunctions. This study and
  other reports showing alterations in brain structure and the manifestation of neurological
  symptoms in COVID-19 patients (Rogers et al., 2020; Troyer et al., 2020) raise a debate on
  whether these clinical features are a consequence of peripheral changes or the potential
  ability of the virus to invade the CNS. Our findings support the latter, at least in part, as we
  detect SARS-CoV-2 in brain tissue collected from patients who died of COVID-19. The ability
  of SARS-CoV-2 to infect brain cells has been demonstrated using in vitro models such as
  stem cell-derived neural cells and cerebral organoids (Song et al., 2020). Viral particles have
  also been found in the brain (Matschke et al., 2020), localized to the microvasculature and
  neurons (Song et al., 2020), as well as in the choroid plexus (Jacob et al.) and meninges
  (Yavarpour-Bali and Ghasemi-Kasman, 2020). However, the magnitude of this infection
  and its distribution within brain tissue had not been demonstrated. Here we show that
  astrocytes are the main locus of infection - and possibly replication - of SARS-CoV-2 in
  COVID-19 patients’ brains, as evidenced by the detection of the viral genome, the SARS-
  CoV-2 spike protein and dsRNA in both postmortem brain tissues and in vitro astrocytes.
  These findings are in line with recently published evidence showing that astrocytes from
  primary human cortical tissue and stem cell-derived cortical organoids are susceptible to
  SARS-CoV-2 infection (Andrews et al., 2021). Evidence was, however, insufficient to
  conclude if SARS-CoV-2 completes its replication cycle in astrocytes, warranting further
  experiments.

  Recently, Meinhardt et al. 2021 described that SARS-CoV-2 could access the CNS through
  the neural–mucosal interface in olfactory mucosa, entering the primary respiratory and
  cardiovascular control centers in the medulla oblongata. Other proposed routes of SARS-
  CoV-2 neuro-invasion are through the infection of brain endothelial cells or the inflammatory
  response produced by SARS-CoV-2 infection, both causing dysfunctions in blood-brain
  barrier integrity (Alquisiras-Burgos et al., 2021; Meinhardt et al., 2021; Reynolds and
  Mahajan, 2021). At this point, there is much left to be learned about the routes of SARS-
  CoV-2 neuro-invasion and how the virus can navigate across those different brain cell types,
  producing manifestation of neurological symptoms in COVID-19 patients.

  While ACE2 is the most well-characterized cellular receptor for the entry of SARS-CoV-2 into
  cells through the interaction with the viral spike protein, other receptors have also been
  identified as mediators of infection (Hoffmann et al., 2020). According to our data and others
  (Matschke et al., 2020), astrocytes do not express ACE2, whereas we found higher
  expression of NRP1. This receptor is abundantly expressed in the CNS (Cantuti-Castelvetri
  et al., 2020; Daly et al., 2020; Wang et al., 2021), particularly in astrocytes and neurons
  (Figures 5D and 5E), and blocking its availability using neutralizing antibodies reduced
  SARS-CoV-2 infection in these cells. These results indicate that SARS-CoV-2 infects in vitro
  astrocytes via the NRP1 receptor, though this is yet to be proven in vivo.

  To understand the consequences of SARS-CoV-2 infection in NSC-derived astrocytes, we
  searched for changes in the proteome in a non-hypothesis-driven fashion. SARS-CoV-2
  infection resulted in substantial proteomic changes in several biological processes, including
  those associated with energy metabolism, in line with previous reports in other cell types
  infected with SARS-CoV-2 (Bojkova et al., 2020; Grenga et al., 2020; Stukalov et al.,
  2020). Noteworthily, differentially expressed proteins in COVID-19 postmortem brains were
  enriched for astrocytic proteins, strengthening our own findings that these are the most
  affected cells by SARS-CoV-2 infection in the human brain. Differentially expressed proteins
  in COVID-19 postmortem brains were also enriched for oligodendrocyte, neuron and
  Schwann cell markers, although less significantly when compared to astrocytes. Our
  proteomic data also evidenced changes in components of carbon metabolism pathways in
  both in vitro infected astrocytes and postmortem brain tissue from COVID-19 patients. These
  pathways were particularly associated with glucose metabolism.

  Since astrocyte metabolism is key to support neuronal function, changes in astrocyte
  metabolism could indirectly impact neurons. One way astrocytes support neurons
  metabolically is by exporting lactate (Turner and Adamson, 2011) and one of the most
  critical alterations seen here caused by SARS-CoV-2 infection in astrocytes was a decrease
  in pyruvate and lactate levels. Moreover, intermediates of glutamine metabolism such as
  glutamate and GABA were decreased in SARS-CoV-2-infected astrocytes. This said, there
  were no significant changes in any core intermediates of the TCA cycle. Together with the
  increased oxygen consumption rate of SARS-CoV-2-infected astrocytes, these results
  suggest that glycolysis and glutaminolysis are being used to fuel carbons into the TCA cycle
  to sustain the increased oxidative metabolism of infected astrocytes. Astrocyte-derived
  lactate and glutamine are required for neuronal metabolism (Gandhi et al., 2009; Suzuki et
  al., 2011) and synthesis of neurotransmitters such as glutamate and GABA, respectively
  (Walls et al., 2011). Astrocytes play a vital role in neurotransmitter recycling, a crucial
  process for the maintenance of synaptic transmission and neuronal excitability. This is
  especially important at glutamatergic synapses since proper glutamate uptake by astroglia
  prevents the occurrence of excitotoxicity (Bélanger et al., 2011). Upon this uptake, glutamine
  synthetase converts glutamate to glutamine, which can then be transferred back to neurons,
  thus closing the glutamate-glutamine cycle (Mergenthaler et al., 2013). This is also true for
  GABAergic synapses, where the neurotransmitter GABA is taken up by astrocytes and
  metabolized first to glutamate and then to glutamine (Bak et al., 2006). Moreover, astrocytes
  are responsible for maintaining glutamate levels in the brain (Bélanger and Magistretti,
  2009; Magistretti, 2009). Hence, given the importance of the coupling between astrocytes
  and neurons, alterations in astrocytic glucose and glutamine metabolism are expected to
  compromise neuronal function, affecting neuronal metabolism and synaptic function and
  plasticity (Bonansco et al., 2011).

  In addition to the metabolic changes observed in SARS-CoV-2-infected astrocytes that may
  impact neuronal dysfunction, we also found that SARS-CoV-2 infection elicits a secretory
  phenotype in astrocytes that results in increased neuronal death. Our data points to the
  release of one or more still unidentified neurotoxic factors by SARS-CoV-2-infected
  astrocytes. A similar phenomenon has been observed when astrocytes are activated by
  inflammatory factors (Guttenplan et al., 2020b; Liddelow et al., 2017). Neuronal death may
  explain, at least partially, the alterations in cortical thickness we found in COVID-19 patients.
  A recent study with 60 recovered patients and 39 healthy controls also identified gray matter
  abnormalities 97 days after the onset of the disease, with increased volume in some areas of
  the brain (Lu et al., 2020). While that study analyzed hospitalized patients, we evaluated
  individuals that did not have to be hospitalized (i.e., had mild respiratory symptoms), and
  nevertheless, we observed notable alterations in cortical thickness. Importantly, some of
  these alterations correlated with severity of symptoms of anxiety and impaired cognition,
  which is consistent with previous literature (Knutson et al., 2015; Milad and Rauch, 2007).
  Since one of the hypotheses for the neuroinvasive mechanism of SARS-CoV-2 is via the
  olfactory nerves (Mao and Jin, 2020), we speculate that the associations between BAI and
  TRAIL B scores and structural alterations in the orbitofrontal region may be a result of the
  action of the virus in this cortical area, closely related to the olfactory nerves.

  It is also worth noting that these regions are anatomically close to the brain regions from
  which we obtained postmortem samples (through endonasal trans-ethmoidal access) and
  identified histopathological alterations associated with SARS-CoV-2 infection. Our findings
  are consistent with a model in which SARS-CoV-2 is able to reach the CNS of COVID-19
  patients, infects astrocytes and secondarily impairs neuronal function and viability. These
  changes might contribute to the alterations of brain structure as observed here and
  elsewhere, thereby resulting in the neurological and neuropsychiatric symptoms manifested
  by some COVID-19 patients. Our study comes as a cautionary note that interventions
  directed to treat COVID-19 should also envision ways to prevent SARS-CoV-2 invasion of the
  CNS and/or replication in astrocytes.



Materials and Methods

  Brain imaging and neuropsychological evaluation

  Participants

  Eighty-one patients (60 women, median 37 years of age) previously infected with SARS-CoV-
  2 were enrolled prospectively for this study after signing an informed consent form approved
  by the local ethics committee. These individuals presented mild symptoms during the acute
  phase and did not require hospitalization or oxygen therapy. They had a median interval of 54
  days (range 16-120 days) between their RT-PCR exam and the day of MRI scanning and
  interview. For cortical thickness analysis, we included one hundred and forty-five controls
  (103 women, median 38 years of age) (Whelan et al., 2018) from our neuroimaging
  databank, given the difficulties and risk of recruiting healthy volunteers during the pandemic.
  The outpatients and healthy controls were balanced for age (p=0.45) and sex (p=0.65). The
  neuropsychological evaluations and neuroimaging analyses were approved by the Research
  Ethics Committee of the University of Campinas (CAAE: 31556920.0.0000.5404) and all
  subjects signed a consent form to participate.

  Neuropsychological evaluation

  We performed neuropsychological evaluations of sixty-one of these patients. They were
  tested for symptoms of anxiety using the Beck Anxiety Inventory (BAI) and symptoms of
  depression using the Beck Depression Inventory (BDI) (Garcia et al., 2019). Symptoms of
  anxiety were confirmed for those with a BAI higher than 10 points, and depression symptoms
  defined for those with a minimum of 14 points on the BDI. Anxiety symptoms were
  considered mild (BAI 11-19), moderate (20-30) or severe (31-63) and depression symptoms
  were considered mild (BDI 14-19), moderate (20-35) or severe (36-63). We evaluated verbal
  memory (immediate and delayed episodic memory) using the Logical Memory subtest from
  the Wechsler Memory Scale (WMS-R) (Bolognani et al., 2015), in which the examiner
  verbally presents two stories, each including 25 pertinent pieces of information. Subjects are
  required to recall details of each story immediately after its presentation and again after 20
  minutes. To evaluate other cognitive functions, we applied the TRAIL Making Test (TMT)
  (Llinàs-Reglà et al., 2017), which is subdivided into two steps. Step A assesses processing
  speed and visual search in a task that requires connecting 25 randomly arranged numbers in
  ascending order. Step B evaluates alternating attention and cognitive flexibility in a task
  associated with shifting rules in an ascending sequence of 25 numbers. A training stage is
  applied to both steps. We calculated z-scores for the results of these tests based on Brazilian
  normative data (Bolognani et al., 2015; Campanholo et al., 2014). For each test, the
  function was categorized as preserved (z-score > - 0.99, including average, high average,
  above average and exceptionally high scores); low average score (z-score between −1 and
  −1.5); below-average score (z-score between −1.51 and - 2); and exceptionally low score (z-
  score < −2) (Beauchamp et al., 2015; Guilmette et al., 2020). The Chalder Fatigue
  Questionnaire (CFQ-11) (Jackson, 2015) was used to evaluate fatigue in these subjects in
  which they were instructed to answer 11 questions (measured on a Likert scale 0-3), which
  yields a global score out of 33.

  Neuroimaging analysis

  We obtained the structural, 3D, T1-weighted images from a 3T Achieva-Philips MRI scanner
  (voxel size: 1×1×1 mm, TE = 3.2 ms, TR = 7 ms, matrix = 240×240×180, flip angle = 8 and
  FOV = 240×240 mm2) (Garcia et al., 2019; Whelan et al., 2018). We performed imaging
  analyses with the CAT12 toolbox (http://www.neuro.uni-jena.de/cat/, version r1711) within
  SPM12 (http://www.fil.ion.ucl.ac.uk/spm/, version 7487) using MATLAB 2017b to extract
  Cortical Thickness (CT) maps, according to the default parameters. The T1 images were first
  spatially registered and segmented into gray matter, white matter and cerebrospinal fluid
  before calculating cortical thickness using the projection method described by Dahnke et al.
  (Righart et al., 2017). For voxelwise analysis of extracted maps, we used CAT12/SPM12
  tools for an independent t-test (comparing COVID-19 patients and healthy controls), including
  age and sex as covariates. The results displayed were corrected for multiple comparisons
  using false discovery rate (FDR) (Genovese et al., 2002) correction (p<0.05). For anatomical
  identification, we used the Destrieux Atlas (2009) (Destrieux et al., 2010). Cortical
  parcellation was performed with standard CAT12 tools to extract the cortical thickness of
  regions of interest for correlations with neuropsychological scores. We used SPSS 22 for
  statistical analysis of clinical and neuropsychological variables. The FDR procedure was
  applied to adjust p-values for multiple comparisons (when necessary) with R software (Team,
  2017).

  Postmortem brain samples from COVID-19

  Twenty-six individuals who died from complications related to COVID-19 were autopsied with
  an ultrasound-guided, minimally invasive approach using endonasal trans-ethmoidal access,
  performed within 1 hour of the patient’s death. Brain tissue samples were collected and fixed
  using a 10% neutral buffered formalin solution. After fixation, the tissue was embedded in a
  paraffin block and sectioned into slices with a thickness of 3μm. The sections were stained
  by H&E and immunofluorescence was observed. For proteomic analysis, twelve COVID-19
  patients were autopsied using the same approach and frozen at −80°C. Brain tissue samples
  were collected and macerated in a lysis buffer (100mM Tris-HCl, pH 8.0, 150mM NaCl, mM
  EDTA, 0.5% Triton X-100) prior to trypsin digestion. The autopsy studies were approved by
  the National Commission for Research Ethics (CAAE: 32475220.5.0000.5440 and CAAE:
  38071420.0.1001.5404).

  Generation of human astrocytes (hES-derived)

  Differentiation of glial progenitor cells was performed from neural stem cells (NSC) derived
  from pluripotent human embryonic stem cells (hES, BR-1 cell line) (Fraga et al., 2011),
  according to the method published by Trindade, 2020 (Trindade et al., 2020). NSCs were
  cultured in plates coated with Geltrex Matrix (Thermo Fisher Scientific, MA, USA) using 1:1
  Neurobasal™/Advanced DMEM/F12 medium and 2% neural induction supplement. Upon
  reaching 50% confluence, the medium was changed to DMEM/F12 (Dulbecco’s Modified
  Eagle Medium/F12), 1% N2 supplement, 1% fetal bovine serum (FBS), and 1% penicillin-
  streptomycin and maintained at 37°C in humidified air with 5% CO2 for 21 days. At this stage,
  cells were considered glial progenitor cells (GPCs). Subsequently, GPCs were plated at low
  density (30-40% confluence) on Geltrex-coated plates and treated with DMEM/F12 medium,
  1% GlutaMAX Supplement, 10% FBS and 1% penicillin-streptomycin. The differentiation
  medium was replaced every 2-3 days. After 4 weeks of differentiation, the cells were
  considered mature astrocytes. The cells were plated on Geltrex-coated coverslips at a
  density of 4×104 cells for immunostaining assays (24-well plates) and 2.5×105 cells for viral
  load, proteomic and metabolomic analysis (6-well plates). All products used for cell culture
  are from Thermo Fisher Scientific, MA, USA. The characterization of the BR-1 lineage as
  astrocyte cells has been previously described elsewhere (Fraga et al., 2011; Ledur et al.,
  2020; Trindade et al., 2020; Yan et al., 2013). We generated eight batches of human
  astrocytes from BR-1-derived NSCs. The NSCs were of different passages and were used as
  biological replicates in independent experiments. Our internal control showed that about 97%
  of the neural stem cell-derived astrocytes in culture expressed GFAP, 80.4% expressed
  vimentin and 12.9% expressed SOX-2 (markers of progenitor cells). The neural stem cell-
  derived astrocyte culture expressed more astrocyte markers than progenitor cell markers,
  showing an excellent effectiveness of human astrocyte generation (hES-derived; Figure
  S12).




                                                                                                       ,




 Figure S12.                                                                                 Download figure | Open in new tab

 Characterization of human astrocyte cultures.
 Cells were trypsinized for FACS analysis and incubated with antibodies against GFAP, vimentin and SOX-2.

 (A) Cells were analyzed and the results were plotted as SSC-A vs. GFAP (APC). The percentage of positive cells is indicated in
 the representative contour plot.

 (B) Cells were analyzed and the results were plotted as SSC-A vs. SOX-2 (APC) and SSC-A vs. vimentin (BB515). The percentage
 of positive cells is indicated in the representative contour plot.

 (C) Staining for GFAP, vimentin, SOX-2 (red) and nuclei (DAPI, blue). Images were acquired with 630x magnification. Scale bar
 indicates 50µm.



  Virus strain                                                Case 3:21-cr-00118-RLJ-DCP Document 29-2 Filed 02/10/22 Page 12 of 20 PageID #:
                                                                                                   168
   The HIAE-02-SARS-CoV-2/SP02/human/2020/BRA (GenBank accession number
   MT126808.1) virus strain was used for all in vitro experiments. The virus was isolated from
   the first confirmed case of COVID-19 in Brazil and kindly donated by Prof. Dr. Edison Durigon
   (ICB-USP). VSV-eGFP-SARS-CoV-2 was engineered and donated by Prof. Dr. Sean P.J.
   Whelan (Department of Medicine, Washington University School of Medicine, St. Louis, MO,
   USA) for SARS-CoV-2 entry experiments (Case et al., 2020). Viral stock was propagated in
   Vero CCL-81 cells (ATCC), cultivated in DMEM supplemented with 10% heat-inactivated FBS
   and 1% penicillin and streptomycin (Gibco, Walthmam, MA, USA) and incubated at 37°C with
   5% CO2 atmosphere. Viral titer was determined by the plaque-forming assay using Vero
   cells. The Brazilian ZIKV strain (BeH823339, 589; GenBank accession number KU729217)
   was used for proteomic experiments.

   In vitro infection

   Astrocytes were infected with SARS-CoV-2 for 1h using an MOI of 0.1 (proteomics;
   metabolomics; gene expression, viral load and bioenergetics assays; and flow cytometry
   analysis) or 1.0 (proteomics and immunostaining) under gentle agitation at room
   temperature. After viral adsorption, cells were washed twice with phosphate-buffered saline
   (PBS) and incubated with DMEM/F12 supplemented with 10% FBS, 1% GlutaMAX and 1%
   penicillin and streptomycin for 24h at standard culture conditions (37°C and 5% CO2
   atmosphere). SARS-CoV-2 entry experiments were performed using SARS-CoV-2 (MOI 1.0)
   and VSV-eGFP-SARS-CoV-2 pseudotyped particles (MOI 1.0) in presence of a NRP1-
   neutralizing antibody (BD Bioscience, Cat. 743129, Clone U21-1283). We used anti-IgG2b as
   an antibody control (Biolegend, Cat. 406703, Clone RMG2b-1). Astrocytes were also infected
   with ZIKV for 1h using an MOI of 1.0 for proteomic experiments under gentle agitation at
   room temperature. We performed a comparison between SARS-CoV-2-infected astrocytes
   against ZIKV-infected astrocytes, using non-infected cells as controls. We chose ZIKV for the
   virus infection comparison due to the already well-described capability of ZIKV to infect the
   CNS and provoke several changes at a molecular level (Garcez et al., 2016).

   Immunostaining and confocal microscopy

   Brain sections from autopsies and astrocyte cell cultures were fixed with 10% neutral
   buffered formalin solution or 4% paraformaldehyde (PFA), respectively. Subsequently, the
   samples were incubated with primary antibodies: mouse monoclonal anti-GFAP Alexa Fluor
   488 (EMD Millipore, clone GA5, Cat. MAB3402X, 1:400), human chimeric monoclonal anti-
   SARS-CoV-2 spike S1 (GeneScript, clone HC2001, Cat. A02038, 1:500), rabbit polyclonal
   anti-SARS-CoV-2 spike (Rhea Biotech, Cat. IM-0828, 1:200), rabbit monoclonal anti-SARS-
   CoV-2 Spike (Invitrogen, clone T01KHuRb, Cat. 703959, 1:500), mouse monoclonal anti-
   double stranded RNA J2 (dsRNA, SCICONS English & Scientific Consulting Kft., clone J2-
   1909, Cat. 10010200; 1:1,000), rabbit polyclonal anti-IBA1 (FUJIFILM Wako Pure Chemical
   Corporation, Cat. 019-19741, 1:1,000) and rabbit monoclonal anti-NeuN (Abcam, clone
   EPR12763, Cat. Ab128886, 1:1,000). The slides were washed twice with TBS-T (Tris-
   Buffered Saline with Tween 20) and incubated with secondary antibodies donkey anti-mouse
   IgG AlexaFluor 647 (Thermo Fisher Scientific; Cat. A32787; 1:800) or AlexaFluor 488
   (Abcam; Cat. ab150061; 1:800), donkey anti-rabbit IgG AlexaFluor 488 (Abcam; Cat.
   ab150065; 1:800) or AlexaFluor 594 (Abcam; Cat. ab150076; 1:800) and goat anti-human
   IgG FITC (Rhea Biotech, Cat. IC-3H04, 1:400). Controls were performed for secondary
   antibody fluorescence. Antibodies for detecting SARS-CoV-2 in human brain tissue and
   human astrocytes in vitro were first validated with SARS-CoV-2-infected and non-infected
   Vero cells. In addition, we validated the antibodies in brain sections from controls.

   Nuclei were stained with DAPI (Life Technologies; Cat. D1306; 1:1,000). Images were
   acquired by an Axio Observer combined with an LSM 780 confocal device (Carl Zeiss) with
   630x magnification and Z-stack (0.15μm) for brain sections. Colocalization analyses between
   GFAP and SARS-CoV-2 S1 or GFAP and dsRNA were quantified using the Fiji/ImageJ
   software. To determine colocalization, we used a ratio of GFAP:SARS-CoV-2 and
   GFAP:dsRNA in each sample by analyzing Pearson’s correlation coefficients.

   Western blots

   Astrocytic cell culture samples were collected in RIPA Buffer (Sigma Aldrich, Cat. R0278) with
   protease and phosphatase inhibitors (Cell Signaling, Cat. 5872S). Protein content was
   quantified using a BCA protein assay kit (Sigma Aldrich, Cat. BCA1). Extracts were
   separated by 10% SDS-PAGE and transferred to nitrocellulose membranes. After transfering,
   the membranes were incubated at 4°C with blocking buffer for 2h. The membranes were
   incubated in 5% BSA solution (Sigma Aldrich, Cat. A7906) and 0.1% Tween 20 (Sigma
   Aldrich, Cat. P2287) containing rabbit anti-ACE2 polyclonal antibody (Abcam; Cat. ab15348;
   1:2,000) or rabbit anti-NRP1 monoclonal antibody (Abcam; clone EPR3113 Cat. ab81321;
   1:1,000) overnight at 4°C. Next, the membranes were incubated with anti-rabbit polyclonal
   antibody (Invitrogen; Cat. 31460; 1:5,000) for 1h. Finally, membranes were incubated with
   anti-beta-actin (Cell Signaling; clone 8H10D10; Cat. 3700) for 2h at room temperature. Beta-
   actin expression was used as loading control and was incubated post-ACE2/NRP1 without a
   stripping process. The membranes were detected with an ECL system (Millipore, Cat.
   WBULS0500) and Chemidoc imaging system (Bio-Rad Laboratories).

   Human brain slice cultures

   Cultures were prepared as previously described (Fernandes et al., 2019; Mendes et al.,
   2018). Cortical brain tissue was obtained from two patients who had an epileptic focus
   removed. A fragment of cortex was collected in the surgery room immediately after resection
   and transported to the laboratory. Tissue was sliced at 200µm in a VT1000s automatic
   vibratome (Leica) and cultivated free-floating with Neurobasal A (Gibco) medium
   supplemented with 1% Glutamax (Gibco), 1% penicillin/streptomycin (Gibco), 2% B27
   (Gibco) and 0.25µg/mL fungizone (Sigma). This procedure was approved by the Ethics
   Committee of the Ribeirao Preto Medical School (HCRP protocol #17578/15). For virus
   infection, the medium was removed, and the slices were exposed to TCID50 of 3×106 for
   SARS-CoV-2 or an equivalent volume of mock medium. Infection was performed for 2h at
   37°C, 5% CO2 in a biosafety level 3 laboratory. The inoculum was removed, the tissue was
   washed and the slices were maintained in fresh medium at 37°C and 5% CO2 until
   processing for subsequent analysis.

   Single-cell transcriptomic analysis

   We analyzed single-cell transcriptomic data from the brains of patients with COVID-19 and
   non-viral controls. The data was generated by Yang et al. (Yang et al., 2020a) and made
   publicly available at https://twc-stanford.shinyapps.io/scRNA_Brain_COVID19. The dataset
   was downloaded and the RDS file was imported into R environment version v3.6.3. Astrocyte
   cells were filtered based on cell type annotations provided by the original authors. To
   calculate the percentage of cells expressing BSG and NRP1, cell frequency was calculated
   considering cells with gene count ≥ 1 in the RNA essay for each gene (BSG and NRP1).
   Cells that met this criterion of minimum expression were considered as expressing the
   respective gene. A differential expression analysis was conducted using the FindMarkers
   function in Seurat with the Wilcoxon test comparing COVID-19 astrocyte cells vs non-viral
   astrocyte cells. Specifically, genes were calculated considering a minimum percent
   expression of genes in cells of 5% and average log fold change above 0.1. Genes were
   considered differentially expressed if the adjusted p-value was below 0.05.

   Proteomics sample preparation, LC-MS/MS analyses and data processing

   Astrocytes infected with SARS-CoV-2 and a mock control were collected in biological
   triplicate. Cells were chemically lysed with lysis buffer (100mM Tris-HCl, 1mM EDTA, 150mM
   NaCl, 1% Triton-X and protease and phosphatase inhibitors) and mechanically lysed with an
   ultrasonication probe during 3 cycles of 20s each with 90% frequency on ice. The total
   protein extract was quantified by BCA, according to the manufacturer’s instructions (Thermo
   Fisher Scientific, MA, USA). 30µg of total protein extract from each sample was transferred to
   a Microcon-10 centrifugal filter with a 10kDa cutoff for FASP protein digestion (Distler et al.,
   2016). Briefly, proteins were reduced (10mM DTT) at 56°C for 40min, alkylated by 20 minutes
   in dark at a room temperature (50mM IAA) and digested overnight by trypsin at 37°C in
   50mM ammonium bicarbonate (AmBic), pH 8.0. One the following day the peptides were
   recovered from the filter in 50mM AmBic, and trypsin activity was quenched by adding formic
   acid (FA) to a final concentration of 1% (v/v), whereupon the peptides were desiccated in a
   SpeedVac and stored at −80°C until use.

   Digested peptides were resuspended in 0.1% FA. LC-MS/MS analyses were performed in an
   ACQUITY UPLC M-Class System (Waters Corporation, Milford, MA) coupled online to a
   Synapt G2-Si mass spectrometer (Waters Corporation, Milford, MA). 1μg of peptides were
   loaded onto a trapping column (Symmetry C18 5μm, 180μm × 20mm, Waters Corporation,
   Milford, MA) and subsequently separated in the analytical column (HSS T3 C18 1.8μm,
   75μm × 150mm; Waters Corporation, Milford, MA). For gradient elutions, 0.1% FA was used
   as eluent A and acetonitrile-FA (99.9% ACN:0.1% FA) as eluent B. A reversed phase gradient
   was carried out during a 120-minute method, with a linear gradient 3 - 60% acetonitrile over
   90min at 300nL/min. In the Synapt G2-Si, the peptide spectra were acquired by ion mobility-
   enhanced data-independent acquisition (HDMSE). Mass spectrometry analysis was
   performed in “Resolution Mode”, switching between low (4eV) and high (25–60eV) collision
   energies, using a scan time of 1.0s per function over 50–2000m/z. The wave velocity for ion
   mobility separation was 1,000m/s and the transfer wave velocity was 175m/s. A [Glu1]-
   Fibrinopeptide B standard (Waters Corporation, Milford, MA) was used as the reference lock-
   mass compound. Each sample was run in three technical replicates.

   The raw data from each experiment were processed in Progenesis QI for Proteomics (Waters
   Corporation, Milford, MA). Tandem mass spectra were searched against the Homo sapiens
   proteome database (UNIPROT, reviewed, release 2020-04), using tolerance parameters of
   20ppm for precursor ions and 10ppm for product ions. For peptide identification,
   carbamidomethylation of cysteines was set as a fixed modification and oxidation of
   methionines as a variable modification, 2 missed cleavages were permitted and a false
   discovery rate (FDR) was limited to 1%. Protein identification was performed using a
   minimum of 1 fragment ion matched per peptide, a minimum of 3 fragment ions per protein
   and a minimum of 1 peptide per protein.

   The label-free quantitative analysis was carried out using the relative abundance intensity
   normalized by all peptides identified. The expression analysis was performed considering the
   technical replicates for each experimental condition, following the hypothesis that each group
   is independent. Proteins with ANOVA (p) ≤ 0.05 between groups were considered
   differentially expressed.

   Bioinformatic analyses

   Proteomic data visualization was performed in-house with the Python programming language
   (v. 3.7.3). Proteins differentially regulated (p ≤ 0.05) were submitted to systems biology
   analysis in R (v. 4.0) and Cytoscape environments (Shannon et al., 2003). While performing
   the over-representation analysis (ORA), proteins were enriched using ClusterProfiler R
   package (Yu et al., 2012), CellMarker Database (Zhang et al., 2019) and Kyoto
   Encyclopedia of Genes and Genomes (KEGG) (Kanehisa and Goto, 2000). For the network
   analysis, it was run by Reactome Cytoscape plugin (Wu et al., 2010) for module detection
   and pathway enrichment analysis.

   Metabolomics sample preparation, UPLC-MS/MS analyses and data processing

   The astrocyte was washed twice with PBS at physiological pH, then the cells were collected
   with 600μL of methanol. Samples were dried and stored at −80°C until the metabolite
   extraction step. 473μL of water, 600μL of methanol and 1168μL of chloroform were added
   and the tubes were shaken vigorously for 2 minutes. Subsequently, samples were
   centrifuged for 5min at 13,000 xg. The aqueous supernatant and the organic phase (lower
   phase) were collected and dried for 60min and 40min, respectively, in a speed vacuum. All
   samples were stored at −80°C until analysis by LC-MS/MS.

   The samples were resuspended in 100μL of a methanol:water mixture (1:1) and for each
   analysis, 4μL of the sample was injected. Sample separation was performed by hydrophobic
   interaction liquid chromatography (HILIC) using an Acquity UPLC® BEH amide column
   (1.7µm, 2.1mm x 100mm). The mobile phases used for the separations were ACN:H2O
   (80:20) as mobile phase A and ACN:H2O (30:70) as mobile phase B, both phases containing
   10mM ammonium formate and 0.1% ammonium hydroxide. Separation was then performed
   by a gradient from 99 - 1% buffer A over 7min. The column was returned to 99% buffer A for
   2min for re-equilibration before the next injection for a total run time of 10min. Data
   acquisition was performed in negative mode and the instrument was operated in MSE mode
   in the m/z range of 50–800Da, with an acquisition time of 0.1s per scan.

   Identification of the metabolites of interest was carried out manually by spectral features, and
   the level 3 identification was obtained according to Schrimpe-Rutledge et al. (Schrimpe-
   Rutledge et al., 2016) using 5ppm as the error cutoff. The integration area of each peak was
   used to calculate the violin plot and an unpaired t-test with Welch’s correction was used for
   statistical comparison. All analyses were performed using GraphPad Prism 8.0 software (San
   Diego, CA, USA) and a significance level of p ≤ 0.05 was adopted.

   RNA extraction, gene expression analyses and viral load

   Total RNA extraction was performed using TRI Reagent according to the manufacturer’s
   instructions (Sigma, St Louis, USA). RNA concentration was determined by a DeNovix
   spectrophotometer and RNA integrity was assessed by visualization of 28S and 18S
   ribosomal RNA on a 1% agarose gel. Reverse transcription was performed with 0.5µg of RNA
   using a GoScript reverse transcriptase kit (Promega, Madison, WI, USA) according to the
   manufacturer’s instructions. qPCR was performed using astrocyte cDNA diluted 1:10 and the
   qPCR SybrGreen Supermix (Qiagen, Valencia, CA, USA) containing forward and reverse
   primers in RNAse-free water. All reactions were performed in a CFX384 Touch real-time PCR
   detection system (Biorad, Hercules, CA, USA) and cycling conditions were set as follows:
   50°C for 2min; 95°C for 10min; (95°C for 15s; 60°C for 1min) x 40 cycles. To evaluate primer
   specificity, a melting curve analysis was performed by heating samples from 65°C to 99°C
   (1°C increment changes at 5s intervals). All sample measurements were performed in
   duplicate. Primers were designed with PrimerBlast and used at a concentration of 200nM.
   Data were normalized to the expression of 18S (Fwd 5’ CCCAACTTCTTAGAGGGACAAG 3’;
   Rev 5’ CATCTAAGGGCATCACAGACC 3’) and the relative quantification value of each target
   gene was determined using a comparative CT method (Schmittgen and Livak, 2008). For
   virus detection, SARS-CoV-2 nucleocapsid N1 primers were used as previously described
   (Fwd 5’ CAATGCTGCAATCGTGCTAC 3’; Rev 5’ GTTGCGACTACGTGATGAGG 3’) (Codo
   et al., 2020; Won et al., 2020). The following primers sequences also were employed:
   hACE2 (Fwd 5’ GGACCCAGGAAATGTTCAGA 3’; Rev 5’ GGCTGCAGAAAGTGACATGA 3’)
   and NRP1(Fwd 5’ GCCACAGTGGAACAGGTGAT 3’; Rev 5’ ATGACCGTGGGCTTTTCTGT
   3’). A serial dilution of SARS-CoV-2, hACE2 and NRP1 were used as a standard curve.Data
   were expressed as mean ± SEM. Statistical significance was calculated by a two-tailed
   unpaired Student’s t-test. All analyses were performed using GraphPad Prism 8.0 (San
   Diego, CA, USA) and a significance level of p ≤ 0.05 was adopted.

   Astrocyte bioenergetics

   Astrocytes were plated on Seahorse XF-24 plates at a density of 1.5×104 cells per well and
   incubated in complete culture medium for two days at 37°C in 5% CO2. 24 hours before the
   experiment, cells were either infected by SARS-CoV-2 (MOI 0.1) or not infected (MOCK).
   One day post-infection, the culture medium was changed to Seahorse Base medium
   (supplemented with 1mM pyruvate, 2mM glutamine and 10mM glucose) and cells were
   incubated at 37°C in a non-CO2 incubator for 1h. OCR (Oxygen Consumption Rate) was
   measured over the course of the experiment under basal conditions and after injections of
   oligomycin (1µM), FCCP (5µM) and antimycin A/rotenone (100nM/1µM). Protein
   concentration was determined for each well to normalize the data. Data were expressed as
   mean ± SEM of two independent experiments performed in quintuplicate. Statistical
   significance was calculated by two-tailed unpaired Student’s t-test. All analyses were
   performed using GraphPad Prism 8.0 software (San Diego, CA, USA) and a significance
   level of p ≤ 0.05 was adopted.

   Diﬀerentiation of the SH-SY5Y human neuroblastoma cell line

   The SH-SY5Y cell line (SH-SY5Y-ATCC-CRL-2266) was cultivated using a commonly used
   neuronal differentiation protocol (Kovalevich and Langford, 2013; Shipley et al., 2016;
   Xicoy et al., 2017) using DMEM/F12 medium, 10% FBS and 1% penicillin-streptomycin at
   37°C in humidified air with 5% CO2. The SH-SY5Y cells were plated and, upon reaching 25-
   30% confluency, the medium was changed to neuronal differentiation medium consisting of
   DMEM/F12 with 1% FBS and 10µM retinoic acid (Sigma Aldrich). The differentiation medium
   was replaced every 2-3 days during 2 weeks. These differentiated SH-SY5Y cells are more
   closely related to adrenergic neurons, but they also express dopaminergic
   markers(Kovalevich and Langford, 2013). The SH-SY5Y cell line was kindly donated by
   Prof. Dr. Gustavo J. S. Pereira (Unifesp).

   NSC diﬀerentiation into neurons

   The human NSC-derived neurons were cultivated following the protocol described by Thermo
   Fisher Scientific (Brewer, 1995; Elkabetz and Studer, 2008; Trujillo et al., 2009). NSCs
   were plated on geltrex-coated plates and maintained with NEM medium at 37°C in humidified
   air with 5% CO2. Upon reaching 40% confluency, the medium was changed to neuronal
   differentiation medium consisting of DMEM/F12 and Neurobasal medium (1:1) with 1% B27
   supplement (Thermo Fisher Scientific, Carlsbad, CA, USA) and 1% Glutamax (Thermo
   Fisher Scientific, Carlsbad, CA, USA). The medium was renewed every four days for 20 days
   by removing half of the volume and adding the same volume of fresh medium. Medium
   renewal was performed in this manner since factors secreted by the differentiating cells are
   important for successful differentiation. Two control cell lines were used: GM23279A,
   obtained from a female subject (available at Coriell) and BR-1 (Fraga et al., 2011). Both cell
   lines were cultivated following the protocol described by Thermo Fisher Scientific (Casas et
   al., 2018; Goto-Silva et al., 2019; Ledur et al., 2020; White et al., 2020).

   These cells and protocols have been extensively characterized elsewhere (Brewer, 1995;
   Elkabetz and Studer, 2008; Trujillo et al., 2009). We also used FACS analysis for cellular
   markers and found a bonafide neuronal phenotype due to the expression of the neuronal
   markers synaptophysin (75.9% of cells), MAP2 (99.9%) and β-tubulin (99%) and astrocytic
   marker GFAP (8.1%) (Figure S13).




                                                                                                         ,




  Figure S13.                                                                                   Download figure | Open in new tab

  Characterization of human neural stem cell-derived neurons.
  The cells were trypsinized for FACS analysis and incubated with antibodies against synaptophysin, MAP2, GFAP and β-tubulin.
  Cells were analyzed and the results were plotted as SSC-A vs. synaptophysin, MAP2, GFAP or β-tubulin. The percentage of
  positive cells is indicated in the representative contour plot.



   CellTiter-Glo luminescent cell viability assay

   Astrocyte and NSC-derived neuron death caused by SARS-CoV-2 infection was measured
   using ATP quantification by a luminescence assay (Promega, Madison, WI, USA; G7572).
   The CellTiter-Glo luminescent cell viability assay determines the number of viable cells in
   culture through quantitation of ATP levels, which reflect the presence of metabolically active
   cells. Astrocytes and NSC-derived neurons were infected with SARS-CoV-2 and harvested
   after 24, 48 or 72h. Astrocytes and NSC-derived neurons were then washed and the
   CellTiter-Glo reagent was added to the cells, following the manufacturer’s instructions
   (Promega; G7572). The luminescent signals were obtained using a FlexStation 3 (Molecular
   Devices, CA, USA).

   Calcein AM cell viability assay

   SH-SY5Y death caused by SARS-CoV-2 infection was measured using Calcein AM, a cell-
   permeant dye that can be used to determine cell viability in most eukaryotic cells. In live cells,
   the non-fluorescent calcein AM is converted to green, fluorescent calcein, after
   acetoxymethyl ester hydrolysis by intracellular esterases (Invitrogen, Cat. No. C3100). The
   SH-SY5Y cell line was infected with SARS-CoV-2 and harvested after 24, 48 or 72h. SH-
   SY5Y cells were then washed and the approximately 2µM serum-free calcein AM working
   solution (FluoroBrite™ DMEM, ThermoFisher Scientific) was added to the cells and
   incubated for 30 minutes at room temperature, according to the manufacturer’s protocol. The
   working solution was removed and replaced with normal growth medium. The fluorescence
   signals were obtained using a GloMax® Discover microplate reader (Promega, Madison, WI,
   USA).

   Exposure of neurons to astrocyte-conditioned media

   Astrocytes, human NSC-derived neurons and SH-SY5Y cells were cultured separately in
   standard conditions until complete differentiation. First, astrocytes were infected with SARS-
   CoV-2 (MOI 0.1 and MOI 1.0) or mock condition (MOCK), and after 24 hours, the medium
   was removed and cells were washed with PBS and cultured for 24 hours. The media of NSC-
   derived or SH-SY5Y neurons were removed and replaced by the conditioned media from
   SARS-CoV-2-infected astrocytes or control medium for 24 hours. After incubation, cells and
   their medium were collected for flow cytometry analysis, following the procedure described
   below.

   Flow cytometry analyses

   The expression of GFAP, synaptophysin, MAP2 and β-tubulin was evaluated through FACS
   analysis. Astrocytes and NSC-derived neurons were collected and stained with BD Horizon
   fixable viability stain 510 for 30min at 4°C. Primary antibodies anti-GFAP (Abcam; Cat.
   Ab7260); anti-synaptophysin D35E4 (Cell Signaling; Cat.#5461); XP Rabbit mAb (Cell
   Signaling; Cat. #5461); anti-MAP2 (Abcam; Cat. ab32454); and anti-tubulin, beta III isoform,
   C-terminus (Milipore; Cat. #MAB1637) all diluted in BD Perm/Wash buffer, were added to the
   cells and incubated for 1h at 4°C (1:500). Secondary antibodies donkey anti-mouse IgG
   AlexaFluor 594 (Cell Signalling; Cat. 8890S), donkey anti-rabbit IgG AlexaFluor 647 (Abcam;
   Cat. ab15006) and donkey anti-goat IgG AlexaFluor 488 (Abcam; Cat. ab150129), all diluted
   in BD Perm/Wash buffer, were added and incubated for 30min at 4°C (1:250). Cells were
   washed with BD Perm/Wash buffer and then transferred to polypropylene FACS tubes.
   Analyses were carried out on a FACSymphony (Becton & Dickinson, San Diego, CA, USA)

   The viability of human NSC-derived and SH-SY5Y neurons was determined 24h after
   incubation with the conditioned medium of SARS-CoV-2-infected astrocytes or control
   medium. The percentage of live (Apotracker-/FVS510-), necrotic (Apotracker-/FVS510+),
   early apoptotic (Apotracker+/FVS510-) and late apoptotic (Apotracker+/FVS510+) cells was
   determined by flow cytometry (FACSymphony, Becton & Dickinson, San Diego, CA, USA),
   after labeling with fixable viability stain (FVS510, BD Biosciences, #564406) and Apotracker
   Green (BioLegend, #427403). Data were analyzed using FlowJo software (BD Biosciences).
   Data are representative of at least two independent experiments performed in triplicate and
   are shown as mean ± SEM. P values were determined by one-way ANOVA followed by
   Tukey’s post hoc test.

   Data availability

   The mass spectrometry proteomic data have been deposited to the ProteomeXchange
   Consortium via the PRIDE (Perez-Riverol et al., 2019) partner repository with the dataset
   identifiers PXD023781 and 10.6019/PXD023781.



AUTHOR CONTRIBUTIONS

   F.C., V.C.C. and F.P.V. designed the majority of the experiments, performed the experiments,
   analyzed data and contributed to writing the manuscript. P.H.V. performed metabolomic
   analyses. A.G.F.V., A.S.L.M.A., C.B-T., G.S.Z., G.R.-O., L.C.a, V.M.S-C., A.C.C. contributed
   to the study design and performed experiments and data interpretation. F.C., A.C.C.,
   A.G.F.V., A.S.L.M.A., C.B-T., G.S.Z., V.M.S-C. performed cell culture and cell differentiation,
   flow cytometry and RT-PCRs analyses. A.S.L.M.A., A.C.C., P.L.P., D.A.T.T., G.F.S., S.P.M.,
   R.G.L., J.F., M.R., N.B.S., M. C.M., R.E.M.P.S. performed SARS-CoV-2 in vitro infections and
   BSL-3 work. R.G.L., G.P.R., T.L.K., G.G.D., J.A.G., P.B.R., N.B.S. performed experiments
   and discussed the data. V.C.C., G.R.O., L.C. performed all proteomic experiments and in
   silico systems biology analyses. R.B.J., L.S.S., M.H.N., I.K.A., M.R.B., M.K.M.A., J.R.S.J.,
   L.L.D., M.E.P.C.S., I.M.P.S., E.D.R., S.M.G., L.H.L.S., V.B., B.M.C., F.C., C.L.Y. recruited
   patients and performed brain imaging and clinical assessments. G.L. performed statistical
   analyses. T.M., A.D-N., L.F.F.S., M.D., P.S. collected human postmortem brain samples,
   assessed clinical files and discussed the data. M.N.B., S.B., L.S., A.F. collected human
   postmortem brain samples and performed histological analyses. F.P.V., B.M.S.M., G.M.A.,
   E.M.S.F., I.M.P., B.M.S.S., R.M.G., M.N.B., S.B., L.S., R.M.M.V., R.M., J.C.A-F., E.A., A.S.,
   F.Q.C., T.M.C. performed immunofluorescence, RT-PCR, histological and morphological
   analyses. N.D.M., M.V.S., L.N., prepared and analysed the human brain slices. I.M.S.C.,
   H.I.N. performed single-cell RNAseq bioinformatic analysis. A.S.V., A.D., M.A.R.V., C.D.M.,
   S.K.R., A.S.F., P.M.M.M-V., J.L.P.M. conceived experiments, performed data interpretation,
   provided material and revised the paper. M.A.M., T.M.C., D.M.S. provided the funding for the
   study, formulated the hypothesis, designed experiments, analyzed data and wrote the
   manuscript with input from all authors. D.M.S., T.M.C. conceived and supervised the study.



DECLARATION OF INTERESTS

   Authors declare no competing interests.



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                   Clinical Review & Education


                 Neuroscience and Psychiatry

                 How COVID-19 Affects the Brain
                 Maura Boldrini, MD, PhD; Peter D. Canoll, MD, PhD; Robyn S. Klein, MD, PhD



                 COVID-19 has resulted in more than 120 million cases and 2.6 mil-                     pathways; however, definitive evidence for this is lacking.
                 lion deaths to date. Respiratory and gastrointestinal symptoms are                    SARS-CoV-2 could pass the blood-brain barrier (BBB) because
                 accompanied by short- and long-term neuropsychiatric symptoms                         inflammatory cytokines induce BBB instability or via monocytes.4
                 (NPs) and long-term brain sequelae.                                                   It could reach brain tissue via circumventricular organs (CVOs),
                      Some patients present with anosmia, cognitive and attention                      midline structures around the third and fourth ventricles,
                 deficits (ie, brain fog), new-onset anxiety, depression, psychosis, sei-              that monitor blood and cerebral spinal fluid content via fenes-
                 zures, and even suicidal behavior.1,2 These present before, during,                   trated capillaries lacking the junctional proteins expressed in the
                 and after respiratory symptoms and are unrelated to respiratory                       BBB. Viral RNA was detected by reverse transcription–quantitative
                 insufficiency,1 suggesting independent brain damage. Follow-ups                       real-time polymerase chain reaction but not by in situ hybridiza-
                 conducted in Germany and the United Kingdom found post–                               tion in medulla and cerebellum, 2 located next to the area
                 COVID-19 NPs in 20% to 70% of patients, even in young adults, and                     postrema, a CVO that controls emetic responses to toxins.
                 lasting months after respiratory symptoms resolved,1 suggesting                       SARS-CoV-2 protein has been found in brain vascular endothelium
                 brain involvement persists.                                                           but not in neurons or glia. 2 Thus, detected viral RNA may
                      Entering through angiotensin-converting enzyme 2 receptors,2                     represent contamination by vasculature in leptomeninges
                 SARS-CoV-2 can damage endothelial cells leading to inflammation,                      and Virchow-Robin spaces. Histopathologic analysis of whole
                 thrombi, and brain damage. Moreover, systemic inflammation leads                      human brain showed microglial nodules and phagocytosis of
                 to decreased monoamines and trophic factors and activation of mi-                     neurons (neuronophagia) in brain stem and less frequently in
                 croglia, resulting in increased glutamate and N-methyl-D-aspartate                    cortex and limbic structures, associated with sparse lymphocytic
                 (NMDA)3 and excitotoxicity (Figure). These insults induce new-                        infiltration, and no correlations between histopathologic findings
                 onset or re-exacerbation of preexisting NPs.                                          and levels of viral messenger RNA in the same brain. 5 While
                                                                                                       ageusia, nausea, and vomiting may be related to CVO and brain
                 Does the Virus Invade the Brain?                                                      stem viral invasion, other short-term and long-lasting NPs are
                 SARS-CoV-2 is known to penetrate the olfactory mucosa, causing                        more likely due to neuroinflammation and hypoxic injury. Brain
                 loss of smell, and may enter the brain, migrating from the cribri-                    stem involvement may explain persistent autonomic abnormali-
                 form plate along the olfactory tract2 or through vagal or trigeminal                  ties and anxiety.

                 Figure. Brain Vascular Injury, Neurotransmitter System Dysfunction, Thrombotic Events, Neuronal Damage, and Neuropsychiatric Symptoms

                    A SARS-CoV-2 entry into brain capillary
                        endothelial cells                                        Endothelial
                                                       ACE2                      damage               Microthrombus formation
                                                                                                           Increased vWF
                                             TMPRSS2
                                                                                                           Fibrin deposition                     Microthrombus
                                                                                                           Platelet activation

                                                                                                                                 C   Coagulation cascade
                                                                                                                                                                              Synaptic
                                                                                                                                                                              pruning
                                                                                                                                                D Altered neurotransmission
                                      B     Neuroinflammation                                                                                      and neuronal damage
                                                                                                                                                      Excitotoxicity
                                                       Cytokine storm                                                                                 Hypoxic injury    Neuronophagy

                  BLO
                                                       IL-1ß     IL-10        Local microglia activation
                        OD-B
                               RAIN BARRIE
                                               R       IL-6      TNF-α

                                                              Astrocyte   Increased kynurenine production
                                                                                                                                            E   Neuropsychiatric symptoms
                                                                          Increased quinolinic acid                                             (dependant on Brodmann areas involved)
                                                                             Increased glutamate
                                                                                                                                                 • Attention deficits • Depression
                                                                             Upregulation of NMDA receptors                                      • Cognitive deficits • Psychosis
                                                                          Depletion of neurotransmitters                                         • New-onset anxiety • Seizures
                   CENTRAL NERVOUS                                                                                                               • Suicidal behavior
                        SYSTEM                                            Serotonin, dopamine, norepinephrine


                 A, SARS-CoV-2 invades endothelial cells via transmembrane angiotensin-converting enzyme 2 (ACE2) receptor, enabled by transmembrane protease, serine 2
                 (TMPRSS2). B, Cytokine elevation and microglia activation result in increased kynurenine, quinolinic acid, and glutamate, and neurotransmitter depletion.
                 C, Coagulation cascade and elevation of von Willebrand factor (vWF) lead to thrombotic events. D, Altered neurotransmission, excitotoxicity by increased glutamate,
                 and hypoxic injury contribute to neuronal dysfunction and loss. E, Neuropsychiatric symptoms differ depending on the Brodmann area involved. IL indicates
                 interleukin; NMDA, N-methyl-D-aspartate; TNF, tumor necrosis factor.



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                                                                                                                          Neuroscience and Psychiatry Clinical Review & Education



                Cytokines and Microglia Activation Lead to Neurotoxicity                           mammals. Suicide decedents with major depressive disorder have in-
                Patients with severe COVID-19 infection have been reported to ex-                  creasedproinflammatoryanddecreasedneurogenesismarkersinpost-
                perience a severe cytokine storm, with increased serum levels of pro-              mortem hippocampus,8 together with smaller dentate gyrus, fewer
                inflammatory cytokines including interleukin (IL) 1, IL-6, IL-10, and              granule neurons, and neural progenitor cells.9 Therefore, neuroinflam-
                tumor necrosis factor (TNF)-α. TNF-α can directly cross the BBB by                 mationmaycontributetothepathogenesisofNPsreducingneurotrans-
                transport (increased BBB permeability due to cytokine-induced                      mitters and neurotrophins and increasing excitotoxicity.3
                damage)4 or CVOs. Once across the BBB, cytokines activate microg-
                lia and astrocytes.6 In addition to phagocytosing damaged cells, ac-               Interplay of Inflammation and Coagulation
                tivated microglia secrete inflammatory mediators, including gluta-                 Virus entrance into endothelial cells of brain vasculature activates
                mate, quinolinic acid, ILs, complement proteins, and TNF-α. 7                      neutrophils, macrophages, thrombin production, and comple-
                Increased quinolinic acid results in higher glutamate and upregula-                ment pathways, promoting microthrombi deposition.2 COVID-19
                tion of NMDA receptors, possibly inducing altered learning, memory,                brain damage shows macro– and micro–hypoxic/ischemic injury and
                neuroplasticity, hallucinations, and nightmares. Excitotoxicity and                infarcts at autopsy.5 Moreover, the complement cascade mediates
                neuronal loss result in region- and neurotransmitter-specific NPs.                 synaptic pruning by microglia following viral infections.7 There-
                                                                                                   fore, NPs of COVID-19 could result from microstrokes and neuronal
                Inflammation and NPs                                                               damage, and symptoms consequently differ depending on the brain
                Increased inflammation activates the enzyme indoleamine dioxygen-                  region involved. Mechanisms of COVID-19 brain damage may re-
                ase, which metabolizes tryptophan to kynurenine rather than                        semble those involved in traumatic brain injury, where a combina-
                serotonin.3 Reduced neurotransmitter release was demonstrated in                   tion of proinflammatory status and microvascular injury resulting in
                patients treated with interferon alfa who exhibited increased positron             neuronal loss have been implicated in the pathogenesis of suicidal
                emission tomography fluorodopa 18F uptake and decreased turnover                   behavior.10 Conversely, a successful clinical outcome would result
                in caudate and putamen, which correlated with depression and fatigue               from an initial immune response involving toll receptors and blunted
                severity. Similarly, interferon- or IL-based immunotherapy can induce              nonpriming or low-priming delayed inflammation.
                depression. Inflammation leads to blunted monoamine neurotrans-                         Understanding cellular and molecular aspects of COVID-19
                mission, anhedonia, negative cognitive, psychomotor and neuroveg-                  brain damage could direct interventions to reduce long-term NPs.
                etative symptoms, depression, and suicidal behavior, which poorly re-              Interventions may involve antagonists of cytokines (etanercept,
                spond to conventional antidepressants.3 In individuals who attempt                 infliximab), NMDA receptor (ketamine), TNF-α and anti-
                suicide and have major depressive disorder, studies found elevated                 inflammatory pathways (aspirin, celecoxib), and kynurenine path-
                plasma kynurenine, high IL-1 and IL-6 levels in blood, cerebral spinal             way modulators (minocycline). 3 Mitigating long-term post–
                fluid,andbrain,andincreasedserumC-reactiveproteincorrelatingwith                   COVID-19 cognitive, emotional, and behavioral sequelae would
                brain glutamate levels. TNF-α and IL-6 levels may predict negative                 decrease disease burden. COVID-19 neuropathology may serve as
                anddepressivesymptomsinpeopleatriskofpsychosis,andhigherIL-6                       a model for deciphering neurodegenerative processes related to
                correlates with smaller hippocampus volume. Elevated IL-1β signaling               neuroinflammation in other brain diseases and developing new
                decreases hippocampal neurogenesis and increases apoptosis in                      treatment strategies.


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                Author Affiliations: Division of Molecular Imaging     are supported by the National Institutes of Health.       Neuronophagia and microglial nodules in a
                and Neuropathology, New York State Psychiatric         Additional Contributions: We thank Helen Blair            SARS-CoV-2 patient with cerebellar hemorrhage.
                Institute, New York (Boldrini); Department of          Simpson, MD, PhD (New York State Psychiatric              Acta Neuropathol Commun. 2020;8(1):147. doi:10.
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                      2021.01.25                     in SARS-CoV-2 Infection Affects Cognitive
                                                     Processes to Induce ‘Brain Fog’ and Results in
                                                     Behavioral Changes that Favor Viral Survival
         Authors’ Contribution:         ABCDEF       George B. Stefano                                        Center for Cognitive and Molecular Neuroscience, First Faculty of Medicine,
                 Study Design A         ABCDEF       Radek Ptacek                                             Charles University in Prague, Prague, Czech Republic
               Data Collection B
           Statistical Analysis C       ABCDEF       Hana Ptackova
          Data Interpretation D         ABCDEF       Anders Martin
       Manuscript Preparation E         ABCDEF       Richard M. Kream
             Literature Search F
             Funds Collection G



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                		                                   Alterations in brain functioning, especially in regions associated with cognition, can result from infection with
                                                     severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) and are predicted to result in various psychiat-
                                                     ric diseases. Recent studies have shown that SARS-CoV-2 infection and coronavirus disease 2019 (COVID-19)
                                                     can directly or indirectly affect the central nervous system (CNS). Therefore, diseases associated with sequelae
                                                     of COVID-19, or ‘long COVID’, also include serious long-term mental and cognitive changes, including the con-
                                                     dition recently termed ‘brain fog’. Hypoxia in the microenvironment of select brain areas may benefit the re-
                                                     productive capacity of the virus. It is possible that in areas of cerebral hypoxia, neuronal cell energy metabo-
                                                     lism may become compromised after integration of the viral genome, resulting in mitochondrial dysfunction.
                                                     Because of their need for constant high metabolism, cerebral tissues require an immediate and constant supply
                                                     of oxygen. In hypoxic conditions, neurons with the highest oxygen demand become dysfunctional. The result-
                                                     ing cognitive impairment benefits viral spread, as infected individuals exhibit behaviors that reduce protection
                                                     against infection. The effects of compromised mitochondrial function may also be an evolutionary advantage
                                                     for SARS-CoV-2 in terms of host interaction. A high viral load in patients with COVID-19 that involves the CNS
                                                     results in the compromise of neurons with high-level energy metabolism. Therefore, we propose that selective
                                                     neuronal mitochondrial targeting in SARS-CoV-2 infection affects cognitive processes to induce ‘brain fog’ and
                                                     results in behavioral changes that favor viral propagation. Cognitive changes associated with COVID-19 will
                                                     have increasing significance for patient diagnosis, prognosis, and long-term care.

                       MeSH Keywords:                Coronavirus • COVID-19 • Hypoxia, Brain • Mitochondria

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EDITORIAL                                                                                                                                                      ‘Brain fog’ and SARS-CoV-2 infection
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    Cerebral infection with SARS-CoV-2 results in acute and chronic                                 metabolism via targeted action on oxygen availability and uti-
    pathologic changes [1–3]. Because this new pandemic infection                                   lization [18–20]. Importantly, these effects may result from the
    has been studied clinically for less than a year, the long-term                                 integration of the viral genome into the host cell mitochondri-
    effects on the CNS, including whether SARS-CoV-2 causes or                                      al matrix, resulting in a viral-mitochondrial interaction or viral
    accelerates the clinical course of neurodegenerative diseases,                                  ‘hijacking’ of the mitochondrial genome [18–20]. This viral-mi-
    such as Parkinson disease and Alzheimer disease, remain un-                                     tochondrial interaction depends on enhanced energy and re-
    known [1]. Interestingly, there have now been several studies                                   duced host immune responsiveness, promoting viral replica-
    that have shown that infection with SARS-CoV-2 affects cog-                                     tion and survival [19–21]. Therefore, these pathological effects
    nitive function and is associated with mental illness, includ-                                  of SARS-CoV-2 infection may explain the long-term psychiat-
    ing depression, and developmental or functional CNS chang-                                      ric, cognitive, and neurodegenerative sequelae of CNS infec-
    es, including autism [4–13]. Recently, patients with COVID-19                                   tion (Figure 1) [13]. Also, the generation of an effective host
    and CNS involvement have shown psychological symptoms,                                          immune response will be impaired when the available mito-
    behavioral changes, cognitive impairment, confusion, and poor                                   chondrial energy is reduced [13].
    concentration; collectively termed ‘brain fog’ [14].
                                                                                                    The role of impaired mitochondrial function and energy me-
    It is now known that the initial pulmonary infection with                                       tabolism in SARS-CoV-2 infection may also explain the de-
    SARS-CoV-2 damages the alveoli and impairs alveolar oxygen-                                     velopment of impaired cognitive function in CNS infection.
    ation. COVID-19 pneumonia can result in acute respiratory dis-                                  Mitochondria evolved from bacteria, and retain the ability to
    tress syndrome, hypoxemia, and acidosis [15–17]. The degree                                     move between cells and toward hypoxic microenvironments,
    of initial lung damage can determine the long-term effects of                                   as well as to exist in extracellular environments such as ce-
    infection and may be associated with acute and chronic chang-                                   rebrospinal fluid [21–24]. We previously speculated that mi-
    es in the heart and CNS [15–17]. Recent modeling data have                                      tochondria represent the initial step in the cellular stress re-
    shown that the genomic and subgenomic RNA (sgRNA) tran-                                         sponse [25]. Their unique oxygen-sensitive functions highlight
    scripts of SARS-CoV-2 can take over the host cell by involv-                                    the significance of mitochondria in initiating pro-inflammato-
    ing the mitochondrial matrix and nucleolus [18]. It is possi-                                   ry reactions [25].
    ble that SARS-CoV-2 can directly impair mitochondrial energy


                                                                 Brain fog: COVID-19 target for long-term rehabilitation

                                                                                 Psychiatric manifestations
                                               SARS-CoV-2
                                                                  Brain fog – cognitive functions that are energy sensitive
                                                                  become functionally disruptive, favoring viral replication
                                                                  and behavior of host benefiting viral propagation



                                             Brain
                                             gastro-intestinal
                                             cardiovascular                                                                       Long-term enhanced
                                                                                 Brain infection increases,                       mitochondrial and viral
                                                                                 enhanced by viral                                genome interaction
                                                        Mitochondrial            load/targets
                                                        infection induces


                                      Hypoxia-mitochondrial response                                                           Chronic hypoxia – prolonged
                                      (genomic & then metabolic)                 Proinflammatory response                      presence benefits viral
                                                                                                                               reproduction and spreading of
                                                                                                                               favorable micro-environment


    Figure 1. ‘Brain fog’ and COVID-19 targeting for long-term rehabilitation. SARS-CoV-2, which causes COVID-19, can infect the lungs,
               CNS, gastrointestinal system, and cardiovascular system. With time, widespread infection increases the total viral load in
               the infected individual. SARS-CoV-2 can integrate its genome into mitochondria to reduce energy metabolism. The brain
               is especially vulnerable to hypoxia because cognitive neural processes adjust poorly to hypoxic conditions. Hypoxia is
               also pro-inflammatory. Therefore, as the viral load increases, cognitive impairment and confusion increase, a condition
               known as ‘brain fog’. This ongoing cascade of neuronal dysfunction is an important factor in understanding the long-term
               pathogenesis of CNS infection with SARS-CoV-2. Importantly, the behaviors resulting from ‘brain fog’ may increase the
               spread of SARS-CoV-2. COVID-19 – coronavirus disease 2019; SARS-CoV-2 – severe acute respiratory syndrome coronavirus 2;
               CNS – central nervous system.



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   ‘Brain fog’ and SARS-CoV-2 infection
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   It has previously been reported that several neurological                           energy metabolism responds immediately to a hypoxic mi-
   disorders can be initiated by chronic inflammation [26,27].                         croenvironment, and mitochondria can serve as mobile senti-
   Physiological stress caused by inflammation can increase sus-                       nel organelles that can act together as an energy delivery sys-
   ceptibility to viral infection [26,27]. Given the dependence of                     tem [25]. Given the high energy and oxygenation requirements
   neural tissue on high oxygen levels, the effects of mitochon-                       in neural tissue, mitochondria can serve as indicators of early
   drial dysfunction associated with SARS-CoV-2 infection may                          acute neuronal dysfunction. The relationship between cogni-
   underlie the observed COVID-19-associated neurological ef-                          tive function, mental health, virus susceptibility, and viral in-
   fects [26,27]. Targeted involvement of the mitochondria in                          fectivity may be a function of CNS viral load, which increases
   SARS-CoV-2 may also involve mitochondrial synchronization in                        with time in the case of ‘long-term COVID’. The resulting cog-
   multiple cells [27–29]. Combined with its induced pro-inflam-                       nitive impairment benefits viral spread, as infected individu-
   matory response, SARS-CoV-2 infection leads to neuronal dys-                        als exhibit reduced anti-infection behaviors (Figure 1). The ef-
   function, resulting in ‘brain fog’, as cognition requires a high                    fects of compromised mitochondrial function may also be an
   and uninterrupted supply of oxygen (Figure 1) [3]. If energy                        evolutionary advantage for SARS-CoV-2 in terms of its interac-
   metabolism is compromised, the resulting impairment of the                          tion with the host. A high viral load in COVID-19 patients that
   immune response serves to increase the spread of the virus                          involves the CNS results in the compromise of neurons with
   within an individual and between individuals. Therefore, the                        high levels of energy metabolism. Therefore, we propose that
   development of ‘brain fog’ as a long-term outcome of SARS-                          selective neuronal mitochondrial targeting in SARS-CoV-2 in-
   CoV-2 infection may be considered to be an evolutionarily con-                      fection affects cognitive processes to induce ‘brain fog’ and re-
   served and strategic mechanism on the part of the virus that                        sults in behavioral changes that favor viral survival and propa-
   aids its spread and survival.                                                       gation. Cognitive changes associated with COVID-19 will have
                                                                                       increasing significance in patient diagnosis, prognosis, and long-
                                                                                       term care. Therefore, there will be an increasing need for sup-
   Conclusions                                                                         port for mental health issues related to COVID-19. Long-term
                                                                                       therapeutic strategies for COVID-19 should combine pharma-
   Recent studies and clinical observations of SARS-CoV-2 infec-                       cological agents targeting a chronic ischemic neural pro-in-
   tions have yielded insights into the cellular and physiological                     flammatory environment with behavioral activities to restore
   processes that enhance the ability of the virus to reproduce                        cognitive function [29,30].
   and spread, including its need for a highly oxygenated micro-
   environment [28]. Recently, there has been an increased un-                         Conflict of interest
   derstanding of the possible role of compromised mitochondria
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